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   T H IN K IN G




                              To:            Liberty University Executive Committee               cc: David Corry
D E M OSS




                              From:          Mark DeMoss

                              Date:          April 10,2015

                              Subject:       Annual Evaluation of the Chancellor (2014)




                              In accordance with the amended bylaws of Liberty University adopted on March 7, 2006
                              (Article IV, Section 2), the Executive Committee of the University Board of Trustees has
                              conducted its annual evaluation of the chancellor/president, Jerry Falwell, Jr. Our committee
                              met in Lynchburg November 7, 2014, in conjunction with the meeting of the full board of
                              trustees.

                              As we do each year, we consider a series of reports (from the chancellor, provost and various
                              vice presidents and deans) in our evaluation of Chancellor Falwell. We seek to evaluate his
                              leadership as the custodian and implementer of the university’s mission. Specifically, we
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                              looked at his leadership and oversight of:

                                    m    Integrity of our Christian mission
                                    ■    Academic excellence
                                    b    Community service of students
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                                    ■    Athletics
                                    ■    Technical innovation
                                    ■    Campus and facilities
                                    ■    Student life
                                    ■    Enrollment management
                                    ■    Financial stability and growth
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                              We commend Chancellor Falwell for the following:

                                    1.   Liberty is now ranked 5th among all colleges and universities in America based on
                                         enrollment (up from #70 to #5 since 2008). Total enrollment now tops 105,000.

                                    2.   Liberty is one of fewer than 10 schools in America with an accredited Law School,
                                         Engineering School, Medical College and a certified aviation program.
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                                    3.   Falwell presides over 8,000+ employees, including 500 resident faculty members.
                                         Liberty’s local economic impact now exceeds $1 billion.
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                                    4.   He recruited and hired Senior Vice President for Spiritual Development, David
                                         Nasser. This position is most important for maintaining the university’s commitment to
                                         its mission to “train champions for Christ.” The Chancellor’s commitment to the
                                         Center for Global Engagement is encouraging to the trustees.




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                 Chancellor’s Evaluation
                 April 10, 2015
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                     5.   Campus facilities continue to be built, including a School of Music, a Science Hall,
                          Observatory and residence housing. Nearly 1 million square feet of new facilities
                          have been initiated or completed in the past year or so.

                     6.   The university’s financial position remains extraordinarily strong in every area of
                          measurement.

                 We recommend the date and location of Chancellor Falwell’s annual physical evaluation be
                 attached to this evaluation for the file.

                 Pending approval of the Executive Committee of this report, I refer it to the full board of
                 trustees, with an outstanding commendation for Jerry Falwell, Jr., chancellor and president of
                 Liberty University.

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                   EXHIBIT A




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 Execution Version


                                    LIBERTY UNIVERSITY
                                  RABBI TRUST AGREEMENT

        THIS RABBI TRUST AGREEMENT is made this 22nd day of July, 2020, by and
 between Liberty University, a not-for-profit corporation organized under the laws of the
 Commonwealth of Virginia (the “University”), and John J. Regan, an individual who is a
 resident of the State of New York, as trustee (the “Trustee”).

                                             RECITALS

         WHEREAS, the University has entered into a Supplemental Executive Retirement Plan
 dated July 22, 2020 and effective July 1, 2019 (the “SERP”) with Jerry L. Falwell, Jr. (the
 “Participant”) that provides for payment of “deferred compensation” within the meaning of
 Section 409A of the Internal Revenue Code of 1986, as amended (the “Code”) upon the
 Participant’s death, Disability, or the second anniversary following termination of employment
 with the University for any reason other than Cause (which terms “Disability” and “Cause”
 having the meanings as defined in the Employment Agreement dated July 1, 2019 between the
 University and the Participant); and

         WHEREAS, in accordance with the requirements of the SERP and to finance its
 potential obligations to the Participant, the University desires to establish a trust (the “Trust”)
 and to contribute to the Trust assets that shall be held therein, subject to the claims of creditors of
 the University in the event of Insolvency (as herein defined), until paid to the Participant and his
 beneficiaries in such manner and at such times as are specified in the SERP or paid to the
 University in accordance herewith; and

        WHEREAS, it is the intention of the parties that the Trust shall constitute an unfunded
 arrangement and shall not affect the status of the SERP as an unfunded agreement maintained for
 the purpose of providing deferred compensation for the Participant as a select individual from
 management and a highly compensated employee according to Title I of the Employee
 Retirement Income Security Act of 1974 as amended; and

        WHEREAS, it is the intention of the University to make contributions to the Trust to
 provide a source of funds to pay benefits under the SERP;

         NOW, THEREFORE, the parties do hereby establish the Trust and agree that the Trust
 shall be comprised, held and disposed of as follows:




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 Section 1. ESTABLISHMENT OF TRUST

         (a)     The University hereby deposits with Trustee in trust $7,635,927, which shall
 become the principal of the Trust to be held, administered and disposed of by the Trustee as
 provided in this Trust Agreement. Within 30 days following the University’s fiscal year (ending
 June 30), the University shall deposit the amount required, if any, such that the balance of the
 Trust, net of any fees or compensation paid, is no less than the balance of the Account under the
 SERP, determined as of June 30th of each year. The University shall have the right to make
 additional deposits from time to time in its sole discretion.

         (b)    The Trust hereby established shall be irrevocable.

         (c)    The Trust is intended to be a grantor trust, of which the University is the grantor,
 within the meaning of Subpart E, part I, subchapter J, chapter I, subtitle A of the Code, and shall
 be construed accordingly.

         (d)     The principal of the Trust, and any earnings thereon shall be held separate and
 apart from other funds of University and shall be used exclusively for the uses and purposes of
 the Participant and general creditors as herein set forth. The Participant and his beneficiaries
 shall have no preferred claim on, or any beneficial ownership interest in, any assets of the Trust.
 Any rights created under the SERP and this Trust Agreement shall be mere unsecured
 contractual rights of the Participant and his beneficiaries against the University. All assets held
 by the Trust will be subject to the claims of the University’s general creditors under federal and
 state law in the event of the Insolvency as defined in Section 3(a) herein.

        (e)     The University, in its sole discretion, may at any time, or from time to time, make
 additional deposits of cash or other property in Trust with the Trustee to augment the principal to
 be held, administered and disposed of by the Trustee as provided in this Trust Agreement.
 Neither the Trustee nor the Participant or his beneficiaries shall have any right to compel such
 additional deposits.

         (f)     The Trustee agrees to accept additional deposits made by the University pursuant
 to Section 1(a) hereof, in accordance with the terms of this Trust Agreement. Such additional
 deposits and contributions shall be in cash or in such other form that may be acceptable to the
 Trustee, including but not limited to policies of life insurance. The Trustee shall have no duty to
 determine or collect contributions under the SERP and shall have no responsibility for any
 property until it is received and accepted by the Trustee. The University shall have the sole duty
 and responsibility for the determination of the accuracy and sufficiency of the deposits and
 contributions to be made under the SERP, the transmittal of the same to the Trustee and
 compliance with any statute, regulation or rule applicable to contributions.

 Section 2. PAYMENTS TO PARTICIPANT AND BENEFICIARIES

         (a)     The University may produce a schedule (the “Payment Schedule”) that indicates
 the amounts payable in respect of the Participant (and his beneficiaries), that provides a formula
 or other instructions for determining the amounts payable, the form in which such amounts are to
 be paid (as provided for or available under the SERP), and the time of commencement for
 payment of such amounts. Except as otherwise provided herein, the Trustee shall make
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 payments to the Participant and his beneficiaries in accordance with such Payment Schedule.
 Trustee shall make provision for the reporting and withholding of any federal, state or local taxes
 that may be required to be withheld with respect to the payment of benefits pursuant to the terms
 of the SERP and shall pay amounts withheld to the appropriate taxing authorities or determine
 that such amount have been reported, withheld and paid by the University. The benefits
 contemplated by the SERP and this Trust are intended to comply with Section 409A of the Code
 and are intended to be subject to a substantial risk of forfeiture under Section 457(f) of the Code
 through the date of payment.

         (b)     Upon the receipt by the Trustee of (i) a written notice from the University,
 indicating that the SERP has been completely terminated and (ii) a Payment Schedule, indicating
 how payments shall be made as a result of the termination of the SERP, the Trustee shall pay to
 the Participant his account balance under the SERP in accordance with the terms of such
 Payment Schedule. Notwithstanding the foregoing, upon the termination of the SERP the
 University shall be entitled to make payment of benefits directly to the Participant or his
 beneficiaries in accordance with subsection (e) below.

         (c)     The University hereby agrees that an Authorized Party (as defined below) shall
 have the exclusive responsibility, and the Trustee shall not have any responsibility or duty under
 this Trust Agreement for determining that the Payment Schedule is in accordance with the terms
 of the SERP and applicable law, including without limitation, the amount, timing or method of
 payment and the identity of each person to whom such payments shall be made. The Trustee
 shall have no responsibility or duty to determine the tax effect of any payment or to see to the
 application of any payment.

        (d)    The entitlement of the Participant or his beneficiaries to the benefits under the
 SERP shall be determined by the University or such party as it shall designate under the SERP,
 and any claim for such benefits shall be considered and reviewed under the procedures set out in
 the SERP.

         (e)     The University may make payment of benefits directly to the Participant or his
 beneficiaries as they become due under the terms of the SERP. The University shall notify the
 Trustee of its decision to make payment of benefits directly to the Participant or his beneficiaries.
 If the University makes payments according to this subsection (e) the University shall make
 provision for the reporting and withholding of any federal, state or local taxes that may be
 required to be withheld with respect to the payment of benefits pursuant to the terms of the SERP
 and shall pay amounts withheld to the appropriate taxing authorities. In addition, if the principal
 of the Trust, and any earnings thereon, are not sufficient to make payments of benefits in
 accordance with the terms of the SERP, the University shall make the balance of each such
 payment as it falls due. The Trustee shall notify the University where principal and earnings are
 not sufficient.

         (f)     University shall furnish Trustee with a written list of the names, signatures and
 extent of authority of all persons authorized to direct Trustee and otherwise act on behalf of the
 University under the terms of this Trust Agreement (an “Authorized Party”). The Trustee shall
 be entitled to rely on and shall be fully protected in acting upon direction from an Authorized


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 Party (or a person that the Trustee reasonably believes to be an Authorized Party) until notified
 in writing by the University, as appropriate, of a change in the identity of an Authorized Party.

         (g)     In accordance with the procedures mutually acceptable to the University and
 Trustee, all directions and instructions to Trustee from an Authorized Party, including but not
 limited to the Payment Schedule, shall be in writing, transmitted by mail or by facsimile or shall
 be an electronic transmission, provided Trustee may, in its discretion, accept oral directions and
 instructions and may require confirmation in writing (“Authorized Instructions”).

 Section 3. TRUSTEE RESPONSIBILITY REGARDING PAYMENT                                   TO     TRUST
            BENEFICIARY WHEN UNIVERSITY IS INSOLVENT

         (a)     The Trustee shall cease payments of benefits to the Participant and his
 beneficiaries if it receives written notice that the University is Insolvent. Such written notice
 shall also be provided to the Participant. The University is considered “Insolvent” for purposes
 of this Trust Agreement if (i) it is unable to pay its debts as they become due, or (ii) it is subject
 to a pending proceeding as a debtor under the United States Bankruptcy Code.

         (b)     At all times during the continuance of this Trust, the principal and income of the
 Trust shall be subject to the claims of general creditors of the University under federal and state
 law, as set forth below.

                (1)     The Board of Directors and the chief financial officer of the University
 shall have the duty to inform the Trustee in writing of the Insolvency of the University. If a
 person claiming to be a creditor of any such entity alleges in writing to the Trustee that such
 entity has become Insolvent, the Trustee shall determine whether such entity is Insolvent and,
 pending such determination, the Trustee may discontinue payments of benefits to the Participant
 and his beneficiaries.

                (2)    Unless the Trustee has actual knowledge of the University’s Insolvency,
 or has received written notice from any such entity or from a person claiming to be a creditor
 alleging that any such entity is Insolvent, the Trustee shall have no duty to inquire whether any
 such entity is Insolvent. The Trustee may, in all events, rely on such evidence concerning the
 Insolvency of any such entity as may be furnished to the Trustee and that provides the Trustee
 with a reasonable basis for making a determination concerning the entity’s Insolvency. For
 purposes of this Subsection, with respect to a corporate Trustee, the Trustee shall be deemed to
 have actual knowledge only of information known to its personnel administering this Trust.

                 (3)     If, at any time, the Trustee has determined that the University is Insolvent,
 the Trustee shall discontinue payments to the Participant and his beneficiaries and shall hold the
 Trust assets for the benefit of the general creditors of the Insolvent entity. Nothing in this Trust
 Agreement shall in any way diminish any rights of the Participant or his beneficiaries to pursue
 their rights as general creditors of the University with respect to benefits due under the terms of
 the SERP or otherwise.

                (4)    The Trustee shall resume the payment of benefits to the Participant or his
 beneficiaries in accordance with Section 2 of this Trust Agreement only after the Trustee has
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 determined that the University is not Insolvent (or is no longer Insolvent). The Trustee may rely
 on such evidence concerning Insolvency as may be furnished to the Trustee and that provides the
 Trustee with a reasonable basis for making a determination concerning Insolvency. At any time
 during the term of this Trust Agreement, if there is a dispute about Insolvency, the Trustee shall
 have the right to require the University to employ and pay for the services of an independent
 expert to render a written opinion to the Trustee addressing the question of Insolvency.

         (c)    Provided that there are sufficient assets, if the Trustee discontinues the payment
 of benefits from the Trust in accordance with the foregoing provisions of this Section and then
 subsequently resumes such payments, the first payment following such discontinuance shall
 include the aggregate amount of all payments due to a Participant or his beneficiaries according
 to the terms of the SERP in lieu of the payments provided for hereunder during any such period
 of discontinuance, less the aggregate amount of any payments made to the Participant or
 beneficiaries by the University in lieu of payments provided for hereunder during any such
 period of discontinuance.

 Section 4. PAYMENTS TO UNIVERSITY

        (a)     Except as provided in Sections 3 and in this Section 4, because the Trust is
 irrevocable the University shall not have the right or the power to direct the Trustee to return to
 the University or to divert to others any of the Trust assets before all payment of benefits have
 been made to Participant or his beneficiaries pursuant to the terms of the SERP.

         (b)     In the event the University makes payment of benefits directly to the Participant
 pursuant to Section 1(e) hereof, the University may file proof of such payment with the Trustee
 and request to be reimbursed for said payment. The Trustee shall reimburse the University for
 amounts not exceeding the amount the University pays to a Participant. The Trustee shall not be
 obligated to verify the amount of payment beyond receipt of reasonable proof (e.g. cancelled
 check). Such reimbursement shall be made after all payment of benefits have been made to the
 Participants or their beneficiaries pursuant to the terms of the SERP.

 Section 5. INVESTMENT AUTHORITY

          (a)    The Trustee shall invest and reinvest the principal and income of the Trust as
 directed by University or an Authorized Party which directions may be changed from time to
 time. To the maximum extent permitted by law, the Trustee shall have no duty or responsibility
 (i) to advise with respect to, or inquire as to the propriety of, any such investment direction or (ii)
 for any investment decisions made with respect to the Trust by the University. In the absence of
 investment direction, the Trustee shall have no obligation to invest Trust assets, but may invest
 Trust assets in any manner permitted under Section 5(c).

         (b)    All rights associated with assets of the Trust shall be exercised by the Trustee and
 shall in no event be exercised by or rest with the Participant, except that voting rights with
 respect to Trust assets will be exercised by the University, unless an investment adviser has been
 appointed and voting authority has been delegated to such investment adviser.



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        (c)     In administering the Trust and carrying out the instructions of the University, the
 Trustee shall be specifically authorized to:

                 (1)     To invest and reinvest the Trust assets, together with the income there
 from, in common stock, preferred stock, convertible preferred stock, bonds, debentures,
 convertible debentures and bonds, mortgages, notes, commercial paper and other evidences of
 indebtedness (including those issued by the Trustee), shares of mutual funds (including but not
 limited to mutual funds for which Trustee or its affiliates serve as advisor or perform other
 services and receive a fee therefor), guaranteed investment contracts, bank investment contracts,
 other securities, policies of life insurance, other insurance contracts, annuity contracts, options,
 options to buy or sell securities or other assets, and all other property of any type (personal, real
 or mixed, and tangible or intangible);

                (2)     To deposit or invest all or any part of the assets of the Trust in savings
 accounts or certificates of deposit or other deposits in a bank or savings and loan association or
 other depository institution (including but not limited to the Trustee), provided such deposits
 bear a reasonable interest rate;

                (3)    To submit or cause to be submitted to the University all information
 received by the Trustee regarding ownership rights pertaining to property held in the Trust;

               (4)     To hold, manage, improve, repair and control all property, real or
 personal, forming part of the Trust; to sell, convey, transfer, exchange, partition, lease for any
 term, even extending beyond the duration of this Trust, and otherwise dispose of the same from
 time to time;

                 (5)     To make, execute and deliver any and all documents, agreements or other
 instruments in writing as are necessary or desirable for the accomplishment of any of the powers
 and duties set forth in this Trust Agreement;

                (6)    To hold in cash, without liability for interest, such portion of the Trust as
 is pending investment, or payment of expenses, or the distribution of benefits;

                 (7)     To take such actions as may be necessary or desirable to protect the Trust
 from loss due to the default on mortgages held in the Trust including with the consent of an
 Authorized Party the appointment of agents or trustees in such other jurisdictions as may seem
 desirable, the transfer of property to such agents or trustees as is necessary, or the grant to such
 agents such powers as are necessary or desirable to protect the Trust.

                (8)     To vote in person or by general or limited proxy, as directed by an
 Authorized Party, any securities in which the Trust is invested and similarly to exercise,
 personally or by general or limited power of attorney, as directed by an Authorized Party, any
 right appurtenant to any authorized investment held in the Trust.

                (9)   To maintain accounts at, execute transactions through, and lend on an
 adequately secured basis stocks, bonds or other securities to, any brokerage or other firm,
 including any firm which is an affiliate of Trustee;

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                 (10) To exercise all of the further rights, powers, options and privileges
 granted, provided for, or vested in trustees generally under the laws of the state in which the
 Trustee has its principal place of business so that the powers conferred upon the Trustee herein
 shall not be in limitation of any authority conferred by law, but shall be in addition thereto.

         (d)     The Trustee may exercise the powers described in this Section 5 with or without
 Authorized Instructions, but where the Trustee acts on Authorized Instructions, the Trustee shall
 be fully protected as described in Section 9.

 Section 6. ADDITIONAL POWERS OF TRUSTEE.

        (a)     To the extent necessary or which it deems appropriate to implement its powers or
 otherwise to fulfill any of its duties and responsibilities as Trustee of the Trust, the Trustee shall
 have the following additional powers and authority:

                 (1)    To register securities, or any other property, in its name or in the name of
 any nominee, including the name of any affiliate or the nominee name designated by any
 affiliate, with or without indication of the capacity in which property shall be held, or to hold
 securities in bearer form and to deposit any securities or other property in a depository or
 clearing corporation;

                (2)     To make, execute and deliver, as Trustee, any and all deeds, leases,
 mortgages, conveyances, waivers, releases or other instruments in writing necessary or
 appropriate for the accomplishment of any of the powers listed in this Trust Agreement; and

                (4)     Generally to do all other acts which the Trustee deems necessary or
 appropriate for the protection of the Trust.

        (b)     The Trustee at the direction of the University may appoint a custodian of
 investments (a “Custodian”) to safeguard the assets of the Trust. The University hereby
 authorizes and directs the Trustee to enter into such agreements with a Custodian as may be
 necessary to establish an account with a Custodian. For administrative purposes, contributions
 deposited to the appointed Custodian shall be deemed as contributions deposited with the Trustee
 on behalf of the Trust.

 Section 7. DISPOSITION OF INCOME.

         During the term of this Trust, all income received by the Trust, net of expenses and taxes,
 shall be accumulated and reinvested.

 Section 8. ACCOUNTING BY TRUSTEE.

        The Trustee shall keep accurate and detailed records of all investments, receipts,
 disbursements, and all other transactions required to be made, including such specific records as
 shall be agreed upon in writing between the University and the Trustee. Within 30 days
 following the end of each fiscal year of the University (ending June 30) and within 30 days after
 removal or resignation of the Trustee, the Trustee shall deliver to the University a written
 account of its administration of the Trust during such calendar month or during the period from
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 the end of the last preceding calendar month to the date of such removal or resignation, setting
 forth all investments, receipts, disbursements and other transactions effected by it, including a
 description of all securities and investments purchased and sold with the cost or net proceeds of
 such purchases or sales (accrued interest paid or receivable being shown separately), and
 showing all cash, securities and other property held in the Trust at the end of such month or as of
 the date of such removal or resignation, as the case may be (the “Report”). Within 30 days
 following the University’s fiscal year end (ending June 30), the Trustee shall provide a copy of
 the Report covering such fiscal year

         To the Participant or his beneficiaries:
         Jerry L. Falwell, Jr.
         2100 Old Cifax Road
         Goode, VA 24566

         And to his counsel of record:
         Abigail Meyer
         Ropes & Gray, LLP
         800 Boylston Street
         Boston, MA 02199

 Section 9. RESPONSIBILITY AND INDEMNITY OF THE TRUSTEE.

        (a)    The Trustee shall act with the care, skill, prudence and diligence under the
 circumstances then prevailing that a prudent person acting in like capacity and familiar with such
 matters would use in the conduct of an enterprise of a like character and with like aims.

         (b)    The Trustee shall incur no liability to any person for any action, or inaction that it
 (or the Custodian) takes pursuant to a direction, request or approval given by the University or an
 Authorized Party in writing which is contemplated by, and in conformity with, the terms of the
 SERP and this Trust In the event of a dispute between the University and the Participant, the
 Trustee may apply to a court of competent jurisdiction to resolve the dispute before taking
 action.

         (c)    The Trustee may, at the expense of the University, consult with legal counsel
 (who may also be counsel for the University generally) with respect to any of its duties or
 obligations hereunder.

         (d)     The University hereby indemnifies the Trustee and each of its affiliates
 (collectively, the “Indemnified Parties”) against, and shall hold them harmless from, any and all
 loss, claims, liability, and expense, including reasonable attorneys’ fees, imposed upon or
 incurred by any Indemnified Party (i) as a result of any acts taken, or any failure to act, in
 accordance with the written directions from the University or an Authorized Party, (ii) or by
 reason of the Indemnified Party’s good faith execution of its duties with respect to the Trust,
 including, but not limited to, its holding of assets of the Trust and investing the assets of the
 Trust, and (iii) as a result of any action, or inaction, taken by the Trustee pursuant to advice of
 counsel. The University’s obligations in the foregoing regard are to be satisfied promptly by the
 University, provided that in the event the loss, claim, liability or expense involved is determined

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 by a no longer appealable final judgment entered in a lawsuit or proceeding to have resulted from
 the gross negligence or willful misconduct of the Trustee, the Trustee shall promptly on request
 thereafter return to the University any amount previously received by the Trustee under this
 Section 9(d) with respect to such loss, claim, liability or expense. If the University does not pay
 such costs, expenses and liabilities in a reasonably timely manner, the Trustee may obtain
 payment from the Trust without direction from the University.

         (e)     The Trustee may, at the expense of the University, hire agents, accountants,
 actuaries, investment advisers, financial consultants or other professionals (including any
 financial advisory firm of which the Trustee is an owner or employee) to assist it in performing
 any of its duties or obligations hereunder.

         (f)     The Trustee shall have, without exclusion, all powers conferred on the Trustee by
 applicable law, unless expressly provided herein, provided, however, that if an insurance policy
 is held as an asset of the Trust, the Trustee shall not have the power to name a beneficiary of the
 policy other than the Trust, to assign the policy (as distinct from conversion of the policy to a
 different form) other than to a successor trustee, or to loan to any person the proceeds of any
 borrowing against such policy.

         (g)   Notwithstanding any powers granted to the Trustee pursuant to this Trust
 Agreement or applicable law, the Trustee shall not have any power that could give this Trust the
 objective of carrying on a business and dividing the gains therefrom, within the meaning of
 section 301.7701-2 of the Procedure and Administrative Regulations promulgated pursuant to the
 Code.

         (h)     The Trustee shall not be liable for any expense, loss, claim or damage (including
 counsel fees) suffered by the Participant arising out of or caused by any delay in, or failure of,
 performance by the Trustee, in whole or in part, arising out of, or caused by, circumstances
 beyond the Trustee’s control, including without limitation: acts of God, interruption, delay in, or
 loss (partial or complete) of electrical power or external computer (hardware or software) or
 communication services (including access to book-entry securities systems maintained by
 Federal Reserve Bank of New York and/or any clearing corporation); act of civil or military
 authority; sabotage; natural emergency; epidemic; war or other government actions; civil
 disturbance; flood, earthquake, fire, other catastrophe; strike or other labor disturbance by
 employees of non-affiliates; governmental, judicial, or self-regulatory organization order, rule or
 regulation; riot; energy or natural resource difficulty or shortage; and inability to obtain
 materials, equipment or transportation.

          (i)     If (1) there is any disagreement or dispute in connection with the Trust or the
 subject matter hereof, including without limitation any dispute between the Trustee, the
 University and/or the Participant, or between the University, the Participant and/or any person
 not a party to the Trust or (2) there are adverse or inconsistent claims or demands upon, or
 inconsistent instructions to the Trustee, or (3) the Trustee in good faith is in doubt as to what
 action to take pursuant to the Trust, the Trustee may at its election refuse to comply with any
 such claims, demands or instructions, or refuse to take any other action pursuant to this Trust
 until (i) the rights of all persons involved in the dispute have been fully and finally adjudicated
 by a court of competent jurisdiction or the Trustee has resolved any such doubts to its good faith

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 satisfaction; or (ii) all disputes have been resolved between the persons involved and the Trustee
 has received written notice thereof satisfactory to it from all such persons. Without limiting the
 generality of the foregoing, the Trustee may at its election interplead the subject matter of this
 Trust Agreement with a court of competent jurisdiction, or commence judicial proceedings for a
 declaratory judgment, and the Trustee shall be entitled to recover from the University the
 Trustee’s attorneys’ fees, expenses and costs in connection with any such interpleader or
 declaratory judgment action.

         (j)    The Trustee is not a party to, and has no duties or responsibilities under, the SERP
 other than those that may be expressly contained in this Trust Agreement. In any case, in which
 a provision of this Trust Agreement conflicts with any provision of the SERP, the SERP shall
 control.

 Section 10.    COMPENSATION AND EXPENSES OF TRUSTEE

          The Trustee shall be entitled to compensation for services under this Trust Agreement,
 which fees shall be charged to and collected from the University. The Trustee shall also be
 entitled to reimbursement for reasonable expenses incurred by it in the discharge of its duties
 under this Trust Agreement. All such fees and expenses shall be charged to and collected from
 the University. If the Trustee advances cash or securities for any purpose, including the purchase
 or sale of foreign exchange or of contracts for foreign exchange, or in the event that the Trustee
 shall incur or be assessed taxes, interest, charges, expenses, assessments, or other liabilities in
 connection with the performance of this Trust Agreement, except such as may arise from its own
 grossly negligent action, grossly negligent failure to act or willful misconduct, any property at
 any time held for the Trust shall be security therefor and the Trustee shall be entitled to collect
 from the University sufficient cash for reimbursement, and if such cash is insufficient, dispose of
 the assets of the Trust to the extent necessary to obtain reimbursement. To the extent the Trustee
 advances funds to the Trust for disbursements or to effect the settlement of purchase
 transactions, the Trustee shall be entitled to collect from the University either (i) with respect to
 domestic assets, an amount equal to what would have been earned on the sums advanced (an
 amount approximating the “federal funds” interest rate) or (ii) with respect to non-domestic
 assets, the rate applicable to the appropriate foreign market. In the event that any fee, expense or
 reimbursement is not paid by the University, then such payment shall be made from the Trust to
 the extent of accumulated income of the Trust.

 Section 11.    RESIGNATION AND REMOVAL OF TRUSTEE

         (a)     The Trustee may resign at any time by written notice to the University, which
 shall be effective 30 days after receipt of such notice unless the University and the Trustee agree
 otherwise.

         (b)    The Trustee may be removed by the University on 60 days’ notice or upon shorter
 notice accepted by the Trustee.

         (c)      Upon resignation or removal of the Trustee and appointment of a successor
 trustee, all assets shall subsequently be transferred to the successor trustee. The transfer shall be


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 completed within 120 days after receipt of notice of resignation, removal or transfer, unless the
 University extends the time limit.

         (d)     If Trustee resigns or is removed, a successor shall be appointed, in accordance
 with Section 12 hereof, by the effective date of resignation or removal under paragraphs (a) or
 (b) of this Section. If no such appointment has been made, the Trustee may apply to a court of
 competent jurisdiction for appointment of a successor or for instructions. All expenses of the
 Trustee in connection with the proceeding shall be allowed as administrative expenses of the
 Trust.

 Section 12.   APPOINTMENT OF SUCCESSOR.

         (a)    If the Trustee resigns or is removed in accordance with Section 11(a) or (b)
 hereof, subject to the requirements of Section 11, the University may appoint any third party,
 such as a bank trust department or other entity that may be granted corporate trustee powers
 under state law, as a successor to replace the Trustee upon resignation or removal. The
 appointment shall be effective when accepted in writing by the new trustee, who shall have all of
 the rights and powers of the former trustee, including ownership rights in the Trust assets. The
 former trustee shall execute any instrument necessary or reasonably requested by the University
 or the successor trustee to evidence the transfer.

          (b)   The successor trustee need not examine the records and acts of any prior trustee
 and may retain or dispose of existing Trust assets, subject to Sections 8 and 9 hereof. The
 successor trustee shall not be responsible for and the University shall indemnify and defend the
 successor trustee from any claim or liability resulting from any action or inaction of any prior
 trustee or from any other past event, or any condition existing at the time it becomes successor
 trustee.

 Section 13.   AMENDMENT OR TERMINATION

        (a)     This Trust Agreement may be amended by a written instrument executed by the
 Trustee and the University. Notwithstanding the foregoing, no such amendment shall conflict
 with the terms of the SERP or shall make the Trust revocable.

        (b)     The Trust shall not terminate until the date on which the Participant and his
 beneficiaries are no longer entitled to benefits pursuant to the terms of the SERP. Upon
 termination of the Trust, any assets remaining in the Trust shall be returned to the University.

        (c)     Upon written approval of the Participant or his beneficiaries entitled to payment
 of benefits pursuant to the terms of the SERP, the University may terminate this Trust prior to
 the time all benefit payments under the SERP have been made. All assets in the Trust at
 termination shall be returned to the University.

 Section 14.   MISCELLANEOUS.

         (a)     Any provision of this Trust Agreement prohibited by law shall be ineffective to
 the extent of any such prohibition, without invalidating the remaining provisions hereof.

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        (b)   Benefits payable to the Participant and his beneficiaries under this Trust
 Agreement may not be anticipated, assigned (either at law or in equity), alienated, pledged,
 encumbered or subjected to attachment, garnishment, levy, execution or other legal equitable
 process.

        (c)    This Trust Agreement shall be governed by and construed in accordance with the
 laws of the Commonwealth of Virginia.

         (d)     Neither the University nor the Trustee may assign this Trust Agreement without
 the prior written consent of the other. This Trust Agreement shall be binding upon, and inure to
 the benefit of, the University, the Trustee and their respective successors and permitted assigns.
 With respect to a corporate Trustee, any entity, which shall by merger, consolidation, purchase,
 or otherwise, succeed to substantially all the trust business of the Trustee shall, upon each
 succession and without any appointment or other action by the University, be and become
 successor trustee hereunder, upon notification to University.

         (e)     The provisions of this Trust Agreement are intended to benefit only the parties
 hereto, their respective successors and assigns, and the Participant and his beneficiaries under the
 SERP. There are no other third party beneficiaries.

          (f)     The University and the Trustee hereby each represents and warrants to the other
 that it has full authority to enter into this Trust Agreement upon the terms and conditions hereof
 and that the individual executing this Trust Agreement on its behalf has the requisite authority to
 bind the University or the Trustee to this Trust Agreement.

        (g)    This Trust Agreement may be executed in any number of counterparts, each of
 which shall be deemed an original, and such counterparts shall constitute but one and the same
 instrument and may be sufficiently evidenced by one counterpart.



                               [SIGNATURE PAGE TO FOLLOW]




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                   EXHIBIT B




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                                 EMPLOYMENT AGREEMENT

          This Employment Agreement (“Agreement’) is hereby adopted effective July 1, 2019

 between LIBERTY UNIVERSITY, a Virginia nonstock corporation (referred to in this Agreement

 as “LU” or “the University”) and JERRY L. FALWELL, JR., a resident of Virginia (referred to in

 this Agreement as “Falwell” or “the Employee”).

          WHEREAS LU is a university centered in the City of Lynchburg, Virginia, which is

 dedicated to excellence in higher education and scholarship within a Christian context;

          WHEREAS, Falwell has served LU in several roles since 1988, including his current

 positions as Chancellor and President and in connection therewith had entered into a series of

 employment agreements;

          WHEREAS, LU acknowledges that Falwell, among others, was instrumental in promoting

 and furthering the University’s debt restructuring and return to a position of financial strength in

 1997 after a period of severe financial hardships for the University that began in 1987 and in

 promoting and furthering the rapid expansion and continued success of the University, particularly

 since 2007;

          WHEREAS, since Falwell became President and Chancellor in 2007, Liberty’s net assets

 have increased from approximately $100,000,000 to over $2.1 billion in 2017 and Liberty’s

 enrollment has increased from approximately 9,600 students in residence to over 15,000 students

 in residence and from approximately 27,000 students studying online to over 86,000 students

 studying online. During the same period, annual gross revenues have increased from $231,506,554

 to $1,111,316,499 and the University’s surplus of revenues over expenditures has increased from

 $52,514,469 to $331,142,834. As a result of LU’s strong financial performance, Standard &

 Poor’s has assigned the University a credit rating of AA since 2011, placing the University among

 the 80 highest rated universities nationally;

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          WHEREAS, in 2019 LU engaged FW Cook, a national consulting firm with expertise in

 compensation of executives in tax-exempt organizations, to review Falwell’s compensation to

 determine whether it is in line with national standards, taking into account LU’s growth and

 financial achievements and Falwell’s historical compensation, and to make recommendations for

 program changes as needed to ensure that he is retained at LU for the long term and provided with

 a competitive and motivating compensation program;

          WHEREAS, LU desires to adjust its executive compensation program so that it remains

 competitive with executive compensation programs of other comparable non-profit colleges and

 universities, adjusted for geography, performance and tenure;

          WHEREAS, in recognition of Falwell’s many significant contributions to the University

 and in an effort to compensate Falwell fairly in keeping with national standards applicable to

 presidents of comparable non-profit colleges and universities, LU wishes to formalize and

 reinforce the parties’ long term employment relationship by entering into this Agreement; and

          WHEREAS, Falwell likewise wishes to continue to contribute to the future success of LU

 through his employment as President and Chancellor of the University on the terms and conditions

 set forth below.

          NOW, THEREFORE, in consideration of the mutual promises and covenants contained

 herein, LU and Falwell adopt the foregoing recitals and agree as follows:

                                            ARTICLE 1

                                     EMPLOYMENT STATUS

          1.1       LU hereby agrees to continue employing Falwell and Falwell hereby accepts

 continued employment by LU as President and Chancellor on the terms and subject to the

 conditions set forth in this Agreement. Falwell shall continue to be classified as a full-time

 employee for all purposes, including fringe benefits. Subject to the provisions of Article 7 and 8
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 hereof, Falwell is an at will employee of LU, and serves at the pleasure of the LU Board of

 Trustees.

                                                   ARTICLE 2

                                                      TERM

          2.1       This Agreement shall commence on July 1, 2019 and shall continue until the earlier

 of: (a) June 30, 2030; or (b) the date the Agreement is terminated pursuant to Articles 6 through 9,

 inclusive, of this Agreement (the “Term”).

                                                   ARTICLE 3

                                       DUTIES AND RESPONSIBILITIES

          3.1       Falwell shall continue to provide LU with dedicated, diligent and conscientious full

 time service in a manner that is generally consistent with the level of service he has provided

 during the nearly five (5) year period immediately preceding the effective date of this Agreement,

 with allowances for reasonable time to attend to personal investments.

          3.2       Falwell’s duties shall consist of the tasks, duties and responsibilities he has assumed

 and performed as President and Chancellor during the nearly five (5) year period immediately

 preceding the effective dates of this Agreement. These duties shall include but not necessarily be

 limited to the following:

                    (a)         ensuring the implementation of the University’s mission and purposes as

 described or defined in the University’s Articles of Incorporation, Bylaws, and other foundational

 documents.

                    (b)         performing the duties of Chancellor/President as described in the

 University’s Bylaws.

                    (c)         overseeing the fiscal, administrative, admissions, academic, athletic and

 other operations, divisions, departments and offices of the University.
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                    (d)         raising funds for the benefit of the University.

                    (e)         implementing and executing policies, orders and resolutions adopted or

 established by the LU Board of Trustees and its Executive Committee.

          3.3       As Chancellor and President, Falwell shall have the executive and administrative

 powers to manage and control the day to day operations of the University, provide focus and

 direction for the University, make policy recommendations to the Board of Trustees, and provide

 spiritual and worldview leadership to the University in pursuit of excellence, subject to the ultimate

 authority of the Board of Trustees as set forth in in the University’s Articles of Incorporation and

 Bylaws. That executive and administrative power shall include but not be limited to the absolute

 authority to hire, retain and dismiss administrative, professional, academic and athletic personnel,

 subject only to any contractual or tenurial rights of any such employee. Provided, however, that

 Falwell shall be accountable to the Board of Trustees for implementing its policies and carrying

 out his duties, including the handling of personnel matters.

          3.4       Compliance with Rules Applicable to Athletics Program.

                    (a)
                    =
                                Falwell agrees to abide by and comply with the Constitution, Operating

 Bylaws, legislation and interpretations of the National Collegiate Athletic Association ("NCAA")

 (or any other conference in which the University becomes affiliated), and all NCAA and University

 rules and regulations relating to the conduct and administration of the University’s general athletics

 program (collectively, the “Program”) as now constituted or as any of the same may be amended

 or enacted during the term of Falwell’s employment by the University. In the event that Falwell

 becomes aware, or has reasonable cause to believe, that violations of any of the aforementioned

 rules or regulations may have taken place, he shall promptly report the same to the Board and the

 NCAA (or other applicable governing body). Falwell agrees to adhere to, respect and follow the


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 academic standards and requirements of the University and the NCAA with regard to the

 recruitment and eligibility of prospective and current student athletes. All academic standards,

 requirements and policies of the University and the NCAA shall also be observed at all times by

 Falwell and he shall use Best Efforts (as defined below) to ensure that the athletic director and

 members of the Program staff do the same.

                    (b)
                    =
                                If Falwell is involved in an act or omission that constitutes a violation by

 the Athletic Director, any University coach or the University of any legislation, rule, regulation,

 constitutional provision, bylaw, policy, procedure or guideline of the NCAA (or NCAA

 interpretation), including but not limited to failing to use Best Efforts to promote an atmosphere

 of compliance by the athletic director, coaches, their staffs or student-athletes in the Program or to

 monitor their activities for compliance with NCAA rules, or if he fails to notify the Board or NCAA

 of any such violations of which he has knowledge, Falwell shall be subject to disciplinary or

 corrective action as set forth in NCAA enforcement procedures and/or policies, procedures and

 guidelines established from time to time by the University for its administrators, including but not

 limited to, probation, suspension with or without pay (for up to thirty (30) days) or termination of

 employment. Such disciplinary action may include termination for Cause (as defined in Section

 7.3(g)). Notwithstanding the foregoing, before any such disciplinary action is imposed, Falwell

 will be provided with written notice of the alleged violation or violations and no less than fifteen

 (15) days to remedy the same, provided that such violation or violations are capable of cure, as

 determined in the reasonable and good faith judgment of the University.

                    (c)
                    =
                                For purposes of this Agreement, “Best Efforts” means with respect to

 Falwell, those efforts that a responsible and experienced President (other than Falwell) desirous of

 successfully achieving the specified result would use in similar circumstances; and (ii) with respect


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 to the University, those efforts that a prudent university desirous of successfully achieving the

 specified result would use in similar circumstances.

          3.5       Falwell shall not undertake compensated work or activities for, or accept any

 employment or other compensation from, any other institution of higher education for work

 undertaken prior to the termination of this Agreement without receiving approval of the Board of

 Trustees or the Executive Committee of the Board of Trustees (the “Executive Committee”) prior

 to undertaking such work or activities.

          3.6       Falwell shall not author or publish any book or article relating to his employment

 at Liberty University hereunder without prior consent of the Executive Committee or Board of

 Trustees, which prior consent may be conditioned upon advance review and approval of the

 content of said book or article. This provision does not include letters to the editor or articles in

 University publications and other University media which are published to carry out Falwell’s

 duties under this Agreement and advance the interests and mission of LU. Nor does this provision

 include brief communications on Twitter, Facebook and similar communication vehicles. The

 provision of this subsection shall survive termination of this Agreement.

          3.7       The parties to this Agreement shall not make defamatory or slanderous remarks

 about the other in public fora or settings. This prohibition includes defamatory remarks about the

 employees and members of the Board of Trustees of the University. Neither party, however,

 waives the protections afforded by otherwise applicable common law privileges and this Section

 3.6 shall in no event apply to remarks made during meetings of either the University’s Board of

 Trustees or its Executive Committee. If Falwell’s employment is terminated for cause, the parties

 may truthfully explain the circumstances forming the basis for the determination of cause. The

 provision of this Section 3.6 shall survive termination of this Agreement.


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          3.8       Falwell shall continue to have access to confidential information of LU pertaining

 to students, athletes, employees, donors, operations, processes, strategies, finances, suppliers,

 vendors, contracts and other matters not publicly disclosed by LU (“‘Confidential Information”)

 during the course of his employment. Confidential Information remains the property of LU.

 Unauthorized disclosure of Confidential Information will cause definite and irreparable harm to

 LU. Falwell shall not disclose Confidential Information intentionally within the University except

 to fulfill the legitimate business purposes of LU and shall not disclose it directly or indirectly,

 outside the University without the express authorization of the Executive Committee or as required

 by law or to further the interests of LU. Under no circumstances shall the release of details of this

 Agreement be considered to further the interests of LU. Any Confidential Information in tangible

 form shall be immediately returned to LU upon request. The provisions of this subsection shall

 survive termination of this Agreement.

                                                   ARTICLE 4

                                               COMPENSATION

          4.1       In consideration of Falwell’s continued service as President and Chancellor, LU

 shall compensate him as follows:

                    (a)         Base Salary. During the Term, LU shall pay Falwell an annual base salary

 at the rate of $1,250,000 per year, payable in accordance with the normal payroll practices of LU

 for its executives as in effect from time to time (but not less frequently than monthly). The annual

 base salary shall not be reduced during the Term of the Agreement. On an annual basis, the Board

 shall review Falwell’s performance and consider in its discretion approval of an increase in base

 salary, with such approved increases to take effect on July 1, of each year. Such base salary, as so

 increased, is hereafter referred to as the “Base Salary.”


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                    (b)
                    =
                                Discretionary Bonuses. Falwell shall be eligible to receive bonuses in such

 amounts and at such times as the Executive Committee of the Board of Trustees may award based

 on its assessment of his performance, the financial condition of the University, and other

 considerations which the Executive Committee of the Board of Trustees in its sole discretion finds

 relevant. The Board shall consider the award of such discretionary bonus no less often than

 annually.

                    (c)
                    =
                                Severance Benefit.    In the event the University terminates Falwell’s

 employment without Cause, or Falwell resigns his employment with Good Reason, the University

 shall pay to Falwell a single lump sum payment in an amount equal to two times his Base Salary.

 Such amount shall be paid to Falwell within thirty (30) days following his termination of

 employment, subject to his execution of a release of claims (provided that if the period over which

 Falwell has to consider the execution of the release crosses tax years, the payment shall be made

 no earlier than the first business day of the second tax year).

                    (d)
                    =
                                Supplemental Executive Retirement Plan. The University agrees to adopt a

 defined contribution supplemental executive retirement plan for the benefit of Falwell (“SERP” or

 the “Plan”) pursuant to a separate agreement that will (1) provide for annual credits designed to

 target a retirement benefit over the life of Falwell and Mrs. Falwell in an amount equal to seventy-

 five percent (75%) of Falwell’s average Base Salary over the five (5) year period prior to his

 termination of employment, net of any required tax withholding, (2) have an initial notional

 account balance that represents prior years’ deemed accumulations during Falwell’s presidency

 through June 30, 2019 and (3) be paid in a lump sum. This lump sum shall be payable on the first

 day of the calendar month following the earliest of (1) provided that Falwell does not engage in

 any Competitive Activity during the Non-Competition Period, as defined in Section 5.2 herein, the


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 second anniversary of his termination of employment, (2) Falwell’s death, or (3) Falwell’s

 Disability, as defined in Section 6.6 herein.

          4.2       Except as set forth herein, LU shall provide Falwell the same fringe benefits and

 the same opportunity to participate in benefit plans that it offers other full-time executive

 employees. These benefits and programs currently include group family health insurance (medical,

 vision, dental), group family life insurance and disability insurance, employee assistance

 programs, retirement, savings and investment programs (including LU’s Section 403(B) plan),

 sick/personal leave, holiday leave and voice and data phone payments under LU’s Cellular Phone

 Policy and similar benefits made available to executive or managerial employees of the University.

 In addition to such benefits, conditioned on Falwell’s continued employment, on each April 1 LU

 shall pay on Falwell’s behalf an amount equal to the life insurance premiums owed in respect of

 whole life insurance policies issued by each of Pacific Life Insurance Company (issued October

 3, 2016) and Protective Insurance Company (issued April 8, 2016) (together, the “Policies”) on

 Falwell’s life, except to the extent that such premiums are paid by the dividends accruing on the

 cash value of such Policies. For this purpose such payment shall be made pursuant to a separate

 “split dollar agreement” pursuant to which the premium payments in respect of the Policies shall

 be repaid, without interest, to the University upon the payment of the death benefit or earlier

 termination of the Policies. Once every eighteen months (18) months, Falwell shall undergo an

 annual Comprehensive Executive Medical Health Assessment, the cost of which shall be

 reimbursed by the institution upon submission of a receipt or statement for same.               The

 Comprehensive Executive Medical Health Assessment shall include a thorough physical

 examination by medical doctor(s), a full range of preventive screening tests for early detection of

 cancer, heart disease and other serious medical problems, a cardiovascular fitness evaluation,


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 including treadmill exercise test, a lifestyle assessment to discuss nutrition, exercise, personal

 safety and other indicators of risk of disease, a review and update of medications and

 immunizations, development and assessment of a long-term strategy for prolonged life and

 wellness, a full report of the test results and recommendations at the conclusion of the examination

 and a written report sent to Falwell confidentially for his personal use and for consultation with

 his private physician. Neither the University nor the Executive Committee shall request or be

 entitled to a copy of the written report but the Executive Committee shall be entitled to receive a

 copy of the receipt or statement for such services as part of each of its formal annual evaluations

 of Falwell.

          4.3       LU shall provide Falwell with an automobile allowance of Seven Hundred Fifty

 Dollars ($750) per month in accordance with LU’s normal payroll policies and schedule and

 subject to any reporting and withholding requirement provided by law. In addition, for each year

 that the Agreement remains in effect LU shall furnish on an annual basis up to fifty (50) hours of

 jet transportation on LU’s jets for Falwell and members of his immediate family, with any unused

 hours expiring at the end of each year without further compensation to Falwell.          Any personal

 use of the jet transportation benefit described herein will be reported as a taxable benefit to Falwell.

 LU shall reimburse Falwell in accordance with LU’s Travel and Entertainment Policy for

 reasonable and necessary travel and out-of-pocket expenses incurred by him, and where

 appropriate his spouse, in connection with the performance of his official duties under this

 Agreement.

          4.4       LU shall provide Falwell and members of his immediate family with tuition at the

 University through the conclusion of each academic year during which he serves as President

 and/or Chancellor pursuant to LU’s Dependent Grant-in-Aid Policy and Continuing Education


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 Policy. “Immediate family” shall be limited to Falwell’s wife, children by birth or adoption and

 grandchildren by birth or adoption. Such tuition benefits shall be provided subject to any reporting

 and withholding requirements provided by law.

            4.5     Falwell shall be entitled to six (6) weeks annual vacation during each year of the

 Term. No unused vacation may be carried forward to subsequent years or paid out as

 compensation.

            4.6     LU agrees to provide memberships at the LaHaye Student Center and Sports Racket

 for use by Falwell and his immediate family or at another fitness center mutually agreeable to the

 parties.

            4.7     LU agrees to provide general maintenance and upkeep at the primary residence of

 Falwell, including general repairs, maintenance and lawn care. The parties hereto acknowledge

 that the primary residence of Falwell is used by the University from time to time for student, faculty

 and staff events. A portion of the general maintenance and upkeep referenced above shall be

 deemed a business expense of the University in connection with said student, faculty and staff

 events and the remainder of said general maintenance and upkeep shall be deemed income to

 Falwell and reported to the IRS as such by the University.

                                               ARTICLE 5

                                        OTHER EMPLOYMENT

            5.1     Falwell shall refrain from undertaking any other employment or compensated

 activities that hinder or impede successful performance of the services outlined in this Agreement.

 Except as provided in this Agreement, Falwell shall not engage in any compensated employment

 or compensated activities without first obtaining the written approval of the Executive Committee

 or the Board of Trustees. The University, however, acknowledges that Falwell is licensed by the

 Virginia State Bar and periodically engages in the practice of law on a limited basis in association
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 with another practitioner on discrete matters. Falwell hereby receives approval for such limited

 legal work and therefore shall not require any additional approval for such employment by the

 Executive Committee or the Board of Trustees. Passive investment activity such as buying, holding

 and selling real estate, stock and securities (“Passive Investment Activity”) shall not be considered

 other employment or compensated activities for purposes of this Agreement and therefore shall

 not require any additional approval by the Executive Committee of the Board of Trustees. In

 addition, Falwell shall have the right without seeking approval of the Executive Committee or

 Board of Trustees to participate as either a paid endorser or principal owner in an asset

 management venture. Falwell (alone or in conjunction with members of his family and/or others)

 shall be free to participate in an asset management venture, provided such venture conducts no

 business with the University or any entity owned or controlled by the University and receives no

 compensation from the University or any entity owned or controlled by the University.

          5.2       In view of the unique and valuable services rendered by Falwell to LU and in

 connection with the SERP benefits to be paid to Falwell at or following termination of

 employment, Falwell agrees that during employment and for a period of two (2) years thereafter

 (“Non-Competition Period”), whether with our without compensation, directly or indirectly, as an

 owner, principal, partner, member, shareholder, independent contractor, consultant, joint venturer,

 investor, licensor, lender or in any other capacity whatsoever, alone, or in association with any other

 Person, he will not carry on, be engaged or take part in, or render services (other than services which are

 generally offered to third parties) or advice to, own, share in the earnings of, invest in the stocks, bonds

 or other securities of, or otherwise become financially interested in, any other college or university,

 whether for-profit or non-profit (“Competitive Activity”). The record or beneficial ownership by

 Falwell of up to one percent (1%) of the shares of any corporation whose shares are publicly traded on


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 a national securities exchange or in the over-the-counter market shall not of itself constitute a breach

 hereunder.

                                               ARTICLE 6

                                        TERMINATION UPON DEATH

          6.1       Falwell’s death shall terminate this Agreement. Falwell’s executor, administrator

 or other personal representative or beneficiary, as applicable, shall be entitled to all the

 compensation and fringe benefits provided in Article 4 of this Agreement through the date of his

 death, along with the benefits payable pursuant to the SERP under subsection 4.l(e), and any

 benefits to which he or his executor, administrator or other personal representative or beneficiary,

 as applicable, is entitled under any applicable benefit plan as a deceased employee. In addition,

 Falwell’s executor, administrator or other personal representative or beneficiary, as applicable,

 shall be entitled to any and all survivorship death benefits payable under any savings, retirement,

 investment and other plans and programs in which Falwell was a participant. Except as provided

 herein, Falwell shall not be entitled to receive any other payments or benefits after the date of his

 death, except that Falwell’s surviving spouse or other eligible dependents shall remain eligible to

 purchase continued health insurance pursuant to the Consolidated Omnibus Budget Reconciliation

 Act (“COBRA”) for the time specified by COBRA at his date of death.

                                               ARTICLE 7

                                TERMINATION FOR CAUSE OR DISABILITY

          7.1       LU may terminate Falwell’s employment only for Cause or Disability, as each such

 term is defined below, provided it first delivers to Falwell specific, written notice of the purported

 grounds for dismissal, and if in the reasonable opinion of the Executive Committee the Cause or

 Disability can be corrected or cured, a thirty (30) day opportunity to correct or cure the alleged

 Cause or Disability. A dismissal in the absence of required, thirty (30) day notice is a dismissal
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 without Cause. For avoidance of doubt, if Falwell is terminated for Cause based on a violation of

 Section 7.3(g) and the applicable governing body renders a final determination establishing facts

 indicating that Cause does not exist, provided there are no other facts or circumstances justifying

 termination for Cause, the termination shall be treated as a termination without Cause under Article

 8 and the provisions of Article 8 shall apply.

          7.2       If Falwell is terminated for Cause, LU shall be obligated to pay Falwell his salary,

 earned compensation and fringe benefits up to the date of termination (collectively, his “Accrued

 Compensation”), plus any benefits to which he is entitled under any applicable benefit plan as a

 former employee. Falwell shall not be entitled to receive any payments or benefits that become

 due after the date of termination, except that Falwell shall remain eligible to purchase continued

 health insurance pursuant to the Consolidated Omnibus Budget Reconciliation Act (“COBRA”)

 for the time specified by COBRA at the time of termination. Falwell’s resignation from the Board

 of Trustees and its Executive Committee shall be effective immediately upon termination of his

 employment for Cause.

          7.3       As used in this Agreement, the term “Cause” is defined restrictively to mean only

 the following:

                    (a)         the willful refusal or willful failure of Falwell to comply with the reasonable

 directives of the Board of Trustees, so long as such directives are not in conflict with the authority

 of the Board of Trustees as set forth in in the University’s Articles of Incorporation and Bylaws,

 or in conflict with this Agreement; provided that such refusal or failure results in (or is substantially

 likely to result in) a material adverse consequence to LU;




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                    (b)         the material failure of Falwell to comply substantially with written policies,

 standards and regulations of LU as from time-to-time established in writing, provided that such

 failure results in (or is substantially likely to result in) a material adverse consequence to LU;;

                    (c)         the willful refusal or willful failure of Falwell to faithfully or diligently

 perform his duties under this Agreement, provided that such refusal or failure results in (or is

 substantially likely to result in) a material adverse consequence to LU;

                    (d)         conviction of or entry of a plea of guilty, no contest or nolo contendere to

 any felony or to a misdemeanor involving moral turpitude (deferred disposition by a court, with

 or without a finding, admission or adjudication of guilt, such as withholding adjudication or taking

 the matter under advisement for some set period, meets the threshold for cause intended for Section

 7.3 (d));

                    (e)         defamatory or slanderous comments in breach of Section 3.6 of this

 Agreement which cause serious damage to LU’s reputation;

                    (f)         Any significant violation (which, for the avoidance of doubt, shall not

 include any Level III or Level IV violation) or repetitive violation (other than of a de minimis

 nature) of any legislation, rule, regulation, constitutional provision, bylaw, policy, procedure or

 guideline of the NCAA (or NCAA interpretation) by Falwell arising from any act or omission of

 Falwell (or Falwell’s knowledge of any act or omission of another person and failure to take

 prompt and appropriate responsive action or Falwell’s failure to monitor, supervise or report

 another person for whom Falwell has or, at the relevant time had, supervisory responsibility), or;

                    (g)         advocating a position that is materially inconsistent with the doctrinal

 statements found in the University’s Articles of Incorporation, with the sole exception of such




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 advocacy in private discussions with the Board of Trustees or Executive Committee in connection

 with proposed amendments to the Articles of Incorporation.

          7.4       In the event Falwell is the subject of a criminal arrest, criminal indictment, criminal

 information, criminal warrant for violation, criminal complaint or criminal charge for any felony

 or is the subject of such for a misdemeanor involving moral turpitude, LU may place Falwell on

 administrative leave, thereby suspending Falwell from performance of the duties and

 responsibilities outlined in Sections 3.1, 3.2 and 3 3, at a minimum of one-third (1/3) of the rate of

 his annual base salary in effect at the date of his suspension, which compensation rate can be

 increased at the discretion of the Executive Committee.

          7.5       As used in this Agreement the term “Disability” is deemed restrictively to mean

 only the following: mental or physical incapacity or disability which prevents Falwell from

 performing a substantial and material portion of his duties under this Agreement on a continuous

 basis and that persists for more than 180 consecutive days. A termination of Falwell’s employment

 for Disability is neither a dismissal with Cause within the meaning of Sections 7.2 and 7.3 nor a

 dismissal without Cause within the meaning of Article 8 and Falwell shall be entitled to (1)

 Accrued Compensation, and (2) immediate commencement of benefits under the SERP, as

 provided under subsection 4.1(e) herein.



                                                 ARTICLE 8

    TERMINATION BY UNIVERSITY WITHOUT CAUSE OR BY FALWELL FOR GOOD
                                REASON

          8.1       LU may terminate Falwell’s employment as President and Chancellor at any time

 upon sixty (60) days advance, written notice to Falwell without Cause, and Falwell may resign his

 employment for “Good Reason” as set forth in Section 8.2. In the event LU elects to terminate

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 Falwell’s employment as Chancellor and President without Cause or Falwell resigns his

 employment for “Good Reason,” LU shall pay to Falwell as liquidated damages the severance

 benefit provided under subsection 4.1(c), and any benefits to which he is entitled under any

 applicable benefit plan as a former employee. Falwell shall not be entitled to receive any payments

 or benefits that become due after the date of termination, except that Falwell shall remain eligible

 (1) to purchase continued health insurance pursuant to the Consolidated Omnibus Budget

 Reconciliation Act (‘‘COBRA”) for the time specified by COBRA at the time of termination, and

 (2) for benefits under the SERP, as provided under subsection 4.1(d). Following termination of

 his employment, Falwell shall have no obligation to remain at the University or perform any

 services for the University.

          8.2       For purposes of this Agreement, the term “Good Reason” shall mean (i) any action

 by LU that results in a material diminution in Falwell’s position, authority, duties or

 responsibilities as President and Chancellor of LU set forth in Article III; (ii) a reduction by LU

 in Falwell’s Base Salary, or a material failure by LU to pay Falwell any such amounts when due;

 (iii) a relocation of Falwell’s principal place of employment to more than thirty-five (35) miles

 from LU’s Lynchburg, Virginia campus, and (iv) a material breach of this Agreement without

 Falwell’s written consent. Termination of employment for “Good Reason” shall not be effective

 (other than with respect to clause (iii) above) until Falwell delivers to the Board of Trustees a

 written notice specifically identifying the conduct of LU which Falwell believes constitutes “Good

 Reason” in accordance with this Section 8.2 within ninety (90) days of Falwell’s knowledge of the

 initial occurrence of each specific event constituting Good Reason and Falwell provides the Board

 of Trustees at least thirty (30) days to remedy such conduct after receipt of such written notice,




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 and to the extent not cured, Falwell terminates his employment within thirty (30) days after such

 failure to cure.

          8.3       The parties have bargained for this liquidated damages provision, giving careful

 consideration to the following circumstances:

                    (a)         this Agreement concerns personal services.

                    (b)         termination of this Agreement by the University prior to the end of the Term

 (or at any point after the Term) could damage his professional reputation. These damages to

 Falwell are difficult to determine with certainty. Therefore, the parties have agreed upon this

 liquidated damages provision and stipulate that it is neither a penalty nor an incentive for

 unsatisfactory performance.

                                                    ARTICLE 9

                                                  RESIGNATION

          9.1       Falwell may resign, retire or otherwise terminate his employment with the

 University other than for Good Reason, provided he gives the Board of Trustees sixty (60) days

 advance written notice. In the event Falwell should elect to resign, retire or otherwise terminate

 his employment other than for Good Reason, the University shall be obligated to pay Falwell his

 Accrued Compensation and any benefits to which he is entitled under any applicable benefit plan

 as a former employee. Falwell shall not be entitled to receive any payments or benefits that become

 due after the date of termination, except that Falwell shall remain eligible (1) to purchase continued

 health insurance pursuant to the Consolidated Omnibus Budget Reconciliation Act (“COBRA”)

 or the time specified by COBRA at the time of termination, and (2) for benefits under the SERP,

 as provided in Section 4.1(e).




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                                               ARTICLE 10

                                          INDEMNIFICATION

          10.1      To the fullest extent permitted by law, the University shall indemnify the Employee

 and hold him harmless from all liability and claims by any person or entity, whether meritorious

 or meritless, including the cost of prosecution or defense thereof (including attorneys’ fees, expert

 witnesses and other litigation expenses of any kind) which have arisen or accrued or which

 hereafter may arise or accrue and are based upon any act or omission which the Employee has

 taken or committed or hereafter may take or commit on behalf of or in connection with the

 University or which arise out of his employment. The indemnification afforded Falwell under this

 Section is in addition to any and all indemnity rights and protections the Employee may have

 pursuant to statute or under any of the University’s Articles of Incorporation, Bylaws or other

 foundation documents or policies.

                                               ARTICLE 11

                                   MISCELLANEOUS PROVISIONS

          11.1      Neither party shall disclose this Agreement to anyone without the other party’s

 prior, written consent, unless disclosure is required by law. The parties, however, shall be free to

 disclose and discuss this Agreement with their respective lawyers, accountants and tax advisors.

 Falwell shall be permitted to disclose the Agreement to his spouse.

          11.2      For a notice or other communication to be valid under this Agreement, it must be

 written, signed and sent by at least one of the following methods: (a) personal delivery; (b) first

 class mail, postage prepaid; (c) registered or certified mail, return receipt requested, and postage

 prepaid; and (d) nationally recognized overnight courier (e.g., UPS or Federal Express).

          11.3      If any provision of this Agreement is determined to be invalid, void, illegal or

 unenforceable to any extent, the remainder of this Agreement, or application of that provision to
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 any persons or circumstances other than those as to which it is held to be unenforceable, will

 remain valid, binding and enforceable.

          11.4      (a) The patties may waive a provision in this Agreement only by a writing executed

 by the party or parties against whom the waiver is sought to be enforced. Waiver by either party

 of a breach of any provision of this Agreement shall not operate or be construed as a waiver by

 that party of any subsequent breaches.

                    (b)         No failure or delay in exercising any right or remedy, or in requiring the

 satisfaction of any condition, under this Agreement, and no act, omission or course of dealing

 between the parties, shall operate as a waiver or estoppel of any right, remedy or condition.

                    (c)         A waiver made in writing on one (1) occasion is effective only in that

 instance and only for the purpose stated. A waiver once given is not to be construed as a waiver of

 any future occasion, unless expressly stated as such.

          11.5      This Agreement constitutes the final Agreement between the parties concerning the

 terms and conditions of Falwell’s employment with LU. This Agreement supersedes and

 invalidates any prior or contemporaneous agreement, oral or written, between them regarding the

 terms of Falwell’s employment with LU. All such prior Agreements between the parties shall

 become null and void upon the execution of this Agreement. In entering into this Agreement,

 neither party has relied upon any statement, representation, warranty or agreement of the other

 party except for those expressly contained in this Agreement. The parties may amend this

 Agreement only by a written Agreement of the parties that identifies itself as an amendment to this

 Agreement.

          11.6      This Agreement may be executed in multiple counterparts, each of which will be

 deemed an original, but all of which together will constitute one instrument.


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          11.7      The rule of construction that ambiguity is construed against the drafting party shall

 have no application in any dispute over the interpretation of this Agreement. The parties represent

 and warrant to one another that they enter this Agreement with the benefit of counsel based on the

 independent analysis of each party of the facts and legal principles relevant to the terms and

 conditions of this Agreement.

          11.8      Neither this Agreement as a whole nor any of its individual provisions is assignable

 by either party.

          11.9      The descriptive headings of the articles and section of this Agreement are for

 convenience only, do not constitute a part of this Agreement, and do not affect this Agreement’s

 construction or interpretation.

          11.10 This Agreement shall be governed by and construed in accordance with the law of

 the Commonwealth of Virginia without regard to the Commonwealth’s choice of law rules.

          11.11 This Agreement shall be binding upon and inure to the benefit of the parties’

 respective successors, heirs, assigns, receivers and personal representatives.

          11.12 The provisions of this Agreement to be performed upon and after termination of

 Falwell’s employment survive termination of this Agreement.

          11.13 The parties agree that any legal action or proceeding against the other party arising

 out of or relating to this Agreement or the University’s employment of Falwell shall be filed and

 adjudicated only in a state or federal court sitting in Lynchburg, Virginia.




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         IN WITNESS WHEREOF,Falwell and the authorized representative of the University

 have executed this Agreement on the date(s) written below.

                                                           JERK     FALWELL,


 LIRE       UNIV             TY:INC.
                                                                  Falwell,Jr.
                    of Trustees

 Date:                                                     D e.     V6          z 2,0/,




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                   EXHIBIT C




                                 LUADMINREC000904
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                                                                              July 22, 2020
 Jerry L. Falwell, Jr.
 President of Liberty University


         Re:    Supplemental Executive Retirement Plan

 Dear President Falwell:

 The purpose of this letter is to describe the terms of the deferred compensation arrangement (the
 “Agreement”) between you and Liberty University (the “University”). This Agreement is
 intended to satisfy the University’s obligations set forth in Section 4.1(d) of your employment
 agreement with the University, dated July 1, 2019 (the “Employment Agreement”) and,
 notwithstanding anything to the contrary in the Employment Agreement, constitutes the entire
 obligation of the University to provide supplemental retirement benefits to you. This Agreement
 is effective as of the date hereof.


 1.      Deferred Compensation Account. The University has established on its books a
 supplemental executive retirement account (the “Account”) for the purpose of measuring its
 obligation to pay you supplemental retirement benefits as described below.

 2.      Credits to the Account.

         a.     Within thirty (30) days of the date hereof, the University will credit to the
                Account, as of July 1, 2020, an amount equal to $7,635,927.

         b.     On or about June 30, 2021 and each anniversary thereafter, provided you remain
                continuously employed as President of the University through each such crediting
                date, the University will credit to the Account, as of such June 30, an amount
                equal to Three Hundred Eighty Five Thousand Dollars ($385,000) less the annual
                employer contribution to the University’s 403(b) plan (assuming the maximum
                employee contribution needed to achieve the maximum employer contribution for
                the plan year ending on such June 30 is made).

 3.      Investment Return to the Account; Rabbi Trust.

         a.     As of each June 30th, as of the last day of the month immediately preceding the
                month in which payment is to be made under this Letter Agreement, and as of
                such other times, if any, as the University determines, investment return at an
                annual rate of 6% shall be credited to the Account. The Account will continue to
                be adjusted under this Paragraph 3 until all amounts due under this Letter
                Agreement have been paid to you or your beneficiary(ies) or have been forfeited.
                Upon full payment or forfeiture of benefits, the balance of the Account will be
                reduced to zero and no further amounts will be due under this Letter Agreement.


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 Jerry L. Falwell, Jr.                                                                 July 22, 2020


         b.      The University shall establish a so-called “rabbi” trust pursuant to the Trust
                 Agreement attached hereto (the “Trust”) for your benefit and shall deposit an
                 amount equal to each credit described in Paragraph 2 and the investment return
                 described in Paragraph 3 of this Letter Agreement within thirty (30) days of the
                 applicable crediting date; provided, that if the balance of the Trust assets as of
                 such applicable crediting date is no less than the balance of the Account (after
                 taking into account the applicable credit and investment return), no such deposit
                 requirement will apply for such applicable crediting date. The Trust is intended to
                 be a grantor trust, of which the University is the grantor, within the meaning of
                 subpart E, part I, subchapter J, chapter 1, subtitle A of the Internal Revenue Code
                 of 1986, as amended (the “Code”), and shall be construed accordingly.

 4.      Payment of the Account. Subject to Paragraph 5 below, you (or, in the event of your
 death, your beneficiary or estate) will be entitled to receive the balance of the Account attributed
 to credits made pursuant to Paragraph 2 (together with the earnings related described in
 Paragraph 3) in a single lump sum payment on the first of the month following the earliest to
 occur of the following: your death, your Disability (as defined in your Employment Agreement),
 and the second anniversary of your termination of employment with the University for any
 reason other than Cause (as defined in your Employment Agreement).

 5.     Forfeiture of the Account. Notwithstanding Paragraph 4 above, in the event that your
 employment is terminated for Cause (as defined in your Employment Agreement) or you engage
 in any Competitive Activity (as defined in your Employment Agreement) during the Non-
 Competition Period (as defined in your Employment Agreement), you will forfeit the right to the
 balance of the Account.

 6.      Designation of Beneficiary. You may designate one or more beneficiaries in writing,
 which designation shall become effective upon receipt by the University. In the absence of an
 effective beneficiary designation, any amounts payable hereunder upon your death shall be paid
 to your estate.

 7.      ERISA; Taxes; Withholding.

         a.      This Letter Agreement is intended to constitute a plan which is unfunded and is
                 maintained primarily for the purpose of providing deferred compensation for a
                 highly compensated management employee within the meaning of Sections
                 201(2), 301(a)(3), 401(a)(1) and 4021(b)(6) of the Employee Retirement Income
                 Security Act of 1974, as amended (“ERISA”). This Letter Agreement shall be
                 interpreted and administered to the extent possible in a manner consistent with the
                 foregoing intention. This Letter Agreement shall be administered by the
                 Executive Committee of the University’s Board of Trustees (the “Committee”) in
                 its full discretion. Any determination made by the Committee with respect to this
                 Letter Agreement will be final, binding and conclusive, in the absence of clear
                 and convincing evidence that the Committee acted arbitrarily and capriciously.


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 Jerry L. Falwell, Jr.                                                                July 22, 2020


                 The Committee shall be deemed to be the plan administrator with responsibility
                 for complying with any reporting and disclosure requirements of ERISA. If you
                 believe you are being denied rights or benefits under this Letter Agreement, you
                 (or your authorized representative) may file a claim in writing with the
                 Committee. If any such claim is wholly or partially denied, the Committee will
                 notify you of its decision in writing and contain such additional information as
                 required by Section 503 of ERISA. Such notification will be given within 90
                 days after your claim is received by the Committee. Within 60 days after the date
                 on which you receive a written notice of a denied claim you (or your authorized
                 representative) may (a) file a written request with the Committee for a review of
                 your denied claim and of pertinent documents and (b) submit written issues and
                 comments to the Committee. The Committee will notify you of its decision in
                 writing. Such notification will contain specific reasons for its decision. The
                 decision on review will be made within 60 days after your request for review is
                 received by the Committee. If the decision on review is not made within such
                 period, your claim will be considered denied.

         b.      All payments made by the University under this Letter Agreement shall be
                 reduced by any tax or other amounts required to be withheld by the University
                 under applicable law. The payments contemplated by this Letter Agreement are
                 intended to comply with Section 409A of the Code and are intended to be subject
                 to a substantial risk of forfeiture under Section 457(f) of the Code through the
                 date of payment. In the event that any portion of a payment under this Letter
                 Agreement is deemed to be vested under Section 457(f) of the Code and therefore
                 taxable prior to the time it is paid to you (or your beneficiary or estate), the
                 University will satisfy the additional required withholding from the undistributed
                 portion of any amount payable and treat such undistributed portion as if such
                 amount had been paid to you as wages (in a manner consistent with Section 409A
                 of the Code). Any amount remitted or paid will be subtracted from the balance of
                 the amounts payable.

         c.      To the extent any amounts payable under this Letter Agreement result in current
                 “wages” for FICA purposes, the University may reduce other pay of yours to
                 satisfy withholding requirements related thereto, or may reduce the amounts
                 payable pursuant to this Letter Agreement (in a manner consistent with Section
                 409A of the Code) by the amount of the required withholding. Any amount
                 remitted or paid will be subtracted from the balance of the amounts payable.

 8.      Non-alienation; Assignment. None of the payments hereunder shall be subject to any
 claim of any creditor, and, in particular, the same shall not be subject to attachment or
 garnishment or other legal process by any creditor. You do not have any right to alienate,
 anticipate, commute, pledge, encumber or assign the payment or proceeds which you or your
 estate may expect to receive, contingently or otherwise, under this Letter Agreement.



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 Jerry L. Falwell, Jr.                                                                 July 22, 2020


        I hereby designate the following beneficiary(ies) to receive the balance of the Account in
 the event of my death before the Account has been paid to me in full. The University shall pay
 each beneficiary equally unless otherwise indicated below. If I elect multiple Primary
 Beneficiaries and not all survive me, the University shall pay the survivors in proportion to their
 percentage allocations.

  Primary Beneficiary(ies)        Address                          Percentage

  Rebecca T. Falwell              2100 Old Cifax Road              100%
                                  Goode, VA 24556


 If I am not survived by any Primary Beneficiary, the balance of the Account will be paid to my
 designated Contingent Beneficiary(ies), if any. The University shall pay each Contingent
 Beneficiary equally unless otherwise indicated below. If I elect multiple Contingent
 Beneficiaries, and not all survive me, the University shall pay the survivors in proportion to their
 percentage allocations.

  Contingent Beneficiary(ies)      Address                         Percentage

  Jerry Lamon Falwell, III         2819 Campbell Highway           1/3
                                   Lynchburg, VA 24501

  Charles Wesley Falwell           2899 Hawkins Ridge Road         1/3
                                   Goode, VA 24556

  Caroline Grace Falwell           2100 Old Cifax Road             1/3
                                   Goode, VA 24556




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                   EXHIBIT D




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 VIRGINIA:

               IN THE CIRCUIT COURT FOR THE CITY OF LYNCHBURG



 LIBERTY UNIVERSITY, INC.

                        Plaintiff,                     Case No. CL21000354-00

 v.
                                                       JURY TRIAL DEMANDED
 JERRY L. FALWELL, JR.,

                        Defendant.



                           SECOND AMENDED COMPLAINT
        Plaintiff Liberty University, Inc. (“Liberty” or the “University”), by counsel, states as

 follows for its claims against Defendant Jerry L. Falwell, Jr. (“Falwell Jr.”).

                                         INTRODUCTION

        1.      Liberty is one of the largest Christian academic communities in America, annually

 training over 100,000 online students, and educating more than 15,000 students on its 700-acre

 campus located at 1971 University Boulevard, Lynchburg, VA.

        2.      Until he quit the office August 25, 2020, Falwell Jr., who resides in Goode, VA,

 was the President and Chancellor of Liberty, a role that he had held since succeeding Liberty’s

 founder, and his father, Dr. Jerry L. Falwell Sr. (“Dr. Falwell”).

        3.      Liberty asserts this suit for several purposes, including (a) to recover University

 property that remains in the possession of Falwell Jr. post-resignation, (b) to redress breaches of

 various fiduciary duties that Falwell Jr. owed to Liberty while serving as the University’s President




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 and Chancellor, and (c) to recover damages for violations by Falwell Jr. of Virginia’s business

 conspiracy statute.

        4.      Many of the facts supporting Liberty’s latter two claims are helpfully spelled out in

 two writings: (a) a media statement that Falwell Jr. released to the Washington Examiner in August

 2020, and (b) a lawsuit that Falwell Jr. lodged against Liberty in October 2020, two months after

 his abrupt resignation from Liberty’s presidency.

        5.      In the August 23, 2020 media statement Falwell Jr. tendered “exclusively” to the

 Washington Examiner, Falwell Jr. presented a 1,200-word narrative that divulged the saga of a

 “former family friend” who had an affair with Becki Falwell, the wife of Falwell Jr., and “was

 threatening to expose it” (the “Statement”).

        6.      In the Statement, attached hereto as Exhibit 1, and in his interview with the

 Washington Examiner, Falwell Jr. took pains to emphasize that he was divulging the extortive

 behavior for the first time outside his family. He stated he and Becki had been “suffering in

 silence” over it. He confessed he had wrongly been “bearing those burdens on [his] own.” The

 Washington Examiner confirmed Falwell Jr. was “reveal[ing] his wife Becki’s affair for the first

 time.” The reporter noted Falwell Jr. “appeared to be relieved to have finally divulged the affair

 and the years-long series of attacks the couple has faced.”

        7.      On October 28, 2020, Falwell Jr. filed in this Court a two-count, 117-paragraph

 Complaint against Liberty (the “Complaint.”) In his Complaint, a copy attached hereto as Exhibit

 2, Falwell again admits what he disclosed in the Statement – that Becki began an affair with a

 family friend in March 2012. Falwell identified the former friend as Giancarlo Granda of Miami

 (“Granda.”) Complaint ¶41. When Becki and Falwell Jr. first met Granda, he was a 20-year old

 working at the high-end resort hotel at which the Falwells stayed while on one of their frequent




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 family vacations in Miami. Complaint ¶40. Falwell Jr. admits that Becki – a mother of three adult

 children – had an on-and-off again sexual affair with Granda that purportedly lasted until 2014.

 Complaint ¶¶40, 41.

        8.      Falwell admits that he knew of Becki’s affair, Complaint ¶42, and also concedes he

 had not disclosed the affair to anyone material.

        9.      In the Complaint, Falwell Jr. instead pled that when Becki broke off intimate

 relations with Granda in 2012, the young man refused to retire from the relationship. Granda

 threatened to use the surreptitious sexual intimacy, and surrounding conduct, to “embarrass the

 Falwells and Liberty University.” Complaint ¶43 (emphasis added). Falwell Jr. and Granda both

 knew that matters of infidelity, immodesty, and acceptance of a loose lifestyle would stand in stark

 contrast to the conduct expected of leaders at Liberty. Granda had amassed considerable leverage

 over the Falwells, and, accordingly, they worked to keep Granda pacified and quiet.

        10.     In the Statement, Falwell Jr. contends that he and Becki were “doing our best to

 respectfully unravel this ‘fatal attraction.’” Accordingly, the Falwells “extended the spirit of

 fondness to [Granda] with respect and kindness, both for spiritual and religious reasons, and in the

 hope that we could help him find his way and allow us to put this behind us, without any harm or

 embarrassment to our family or to the LU community….”                In the Complaint, Falwell Jr.

 summarized this appeasement as cultivating a “positive relationship” with Granda. Complaint

 ¶42.

        11.     By filing of the lawsuit against Liberty on October 28, 2020, Falwell Jr. – an

 attorney and active member of the Virginia State Bar – endorsed the accuracy of the statements

 made in the Complaint. Since the time this suit was docketed with this Court by counsel, Falwell

 Jr. has referred to that Complaint on several occasions in the press without retraction or correction.




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 Although he voluntarily dismissed the defamation suit against Liberty in December 2020, Falwell

 Jr. did so without rescinding or rejecting the factual allegations he made in the Complaint.

        12.       Similarly, by issuing the remarks in August 2020, and by providing a phone

 interview to the Washington Examiner about their contents, Falwell Jr. endorsed the facts in the

 Statement. He has since then neither contradicted nor corrected any of the factual allegations in

 the Statement.

                                        The Liberty Way

        13.       The unique concept for Liberty’s brand of Christian higher education arose out of

 the personal vision of Dr. Falwell. Dr. Falwell’s unwavering agenda was for Liberty to be a

 university anchored in the principles of the “Liberty Way,” the University’s term for a way of life

 centered on rigorous educational instruction delivered by faculty and administrators who were

 intentionally committed to a written statement of faith and to Biblical standards of morality.

        14.       In 1967, Dr. Falwell first began laying the foundation for Liberty’s eventual

 success, building in Lynchburg a holistic Christian educational system for evangelical youth by

 establishing Lynchburg Christian Academy, an accredited Christian day school for grades K-12.

 In 1971, Dr. Falwell reached higher, founding Liberty, an accredited Christian university for

 evangelical students. In 1985, Dr. Falwell announced his eventual goal of having 50,000 students

 attend Liberty. Today, as noted, Liberty trains more than double that number.

        15.       In addition to leading Liberty, Dr. Falwell was also an important public figure in

 the political spectrum, serving among other things as head of the Moral Majority – a political

 action group that promoted biblical standards of living as a community value, and forged a

 coalition of voters active on the “Religious Right.” The Moral Majority – and Dr. Falwell – helped

 sweep Ronald Reagan to the U.S. presidency in 1980.



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        16.     At Liberty, Christian discipleship and academic instruction were integral to a

 cohesive educational package, and Liberty’s policy documents incorporated this commitment.

 One of the principles that fueled Liberty’s growth – and stability – was the Biblical notion of inter-

 accountability among the Christians who make up the Liberty community. Liberty’s core conduct

 documents espouse this fundamental belief, pronouncing, as a closely-held religious value, the

 ability of those following the commonly-held faith to press other Christians toward adherence to

 Biblical mandates in the event of perceived lapse.

        17.     The Liberty Articles of Incorporation, first put in place under Dr. Falwell’s

 leadership, plainly state this principle: “[Education] occurs most effectively when both instructor

 and student are properly related to God and each other through Christ.” The Faculty Handbook

 repeats this quote at paragraph 42.

        18.     The Liberty University honor code – the Liberty Way – puts the practice of inter-

 accountability in these terms:

                Every student is expected to respect Liberty's Statement of
                Doctrine and Purpose and should avoid any activity, on or
                off campus, which would contradict the university’s
                mission or purpose, compromise the testimony or
                reputation of the university, or disrupt Liberty's Christian
                learning environment. All members of the Liberty
                University community are asked to affirm the following:
                “We have a responsibility to uphold the moral and ethical
                standards of Liberty University and personally confront
                those who do not.”

 (Emphasis in original.)

        19.     The following statement from the Liberty University Employee Handbook, under

 the heading “Philosophy of Education,” reflects well these guiding principles, which are taken

 from the institution’s Articles of Incorporation:

                Liberty University is a Christian academic community in the tradition of
                evangelical institutions of higher education. As such, Liberty continues the


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                 philosophy of education which first gave rise to the university and which is
                 summarized in the following propositions:

                 •        God, the infinite source of all things, has shown us the truth through the
                          Scripture, nature, history, and above all, Christ.

                 •        Persons are spiritual, rational, moral, social, and physical, created in the
                          image of God. They are, therefore, able to know and value themselves and
                          other persons, the universe, and God.

                 •        Education, as the process of teaching and learning, involves the whole person,
                          by developing the knowledge, values, and skills which enable each individual
                          to change freely. Thus it occurs most effectively when both instructor and
                          student are properly related to God and each other through Christ.

         20.     It was Dr. Falwell’s vision for the President of Liberty to be a standout spiritual

 leader for the college. Under the Bylaws put in place to govern Liberty, it was Dr. Falwell’s

 personal responsibility as President, and later as Chancellor and President simultaneously, to be at

 the same time Liberty’s administrative leader and spiritual exemplar. During his tenure, Dr.

 Falwell achieved distinction in both roles in service to the Liberty community.

         21.     This tradition of dual duty continues at Liberty. The Amended and Restated

 Bylaws, adopted by Liberty’s Board of Trustees on April 5, 2019, preserves Dr. Falwell’s

 conception of the President’s role. It states, “[The President] provides spiritual and worldview

 leadership to the University in pursuit of excellence.” Falwell Jr. was among the Board members

 who voted to adopt these Restated Bylaws, and he later assented in his 2019 Employment

 Agreement to perform those duties.

         22.     Finally, fearing spiritual erosion from the top, it was Dr. Falwell’s vision that

 Liberty would always be subject to the authority of the local church in matters of doctrine and

 spiritual discipline.     Liberty’s Board of Trustees was and is obligated to espouse Biblical

 principles. After all, it was the Trustees that fashioned “Board policy” for Liberty. See Bylaws,

 Article II, Section 4.



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        23.     Guided by the standards of Dr. Falwell and the Liberty Way, the university grew

 exponentially until Dr. Falwell’s untimely death in 2007. From that point onward, Dr. Falwell’s

 chosen successors, sons Falwell Jr. and Jonathan Falwell (“Jonathan”), assumed aspects of their

 father’s leadership roles. Jerry Jr. served as Liberty’s President, Chancellor, and member of its

 Board of Trustees. Jonathan also served as a Liberty Board of Trustee member, as a Vice

 Chancellor for Spiritual Affairs, and also as Chairman of the Spiritual Mission Committee of the

 Liberty Board. Jonathan was further installed as the Head Pastor of Thomas Road Baptist Church,

 an institution designated to have an important oversight function with respect to Liberty. He has

 since acceded to the role of campus pastor at Liberty.

        24.     In the Statement, Falwell Jr. indicated he had accepted fully his portion of the

 mantle of leadership at Liberty. He stated his “priority was to build on my father’s vision and to

 work hard” doing so in the course of “serv[ing] Christ and community.”

        25.     One of Falwell Jr.’s attempts to “build on his father’s vision” was to bring another

 generation of Falwell men into the leadership at Liberty. Effective January 1, 2016, Falwell Jr.

 extended to his firstborn son Trey Falwell a key employee services agreement (“Trey’s Contract”).

 It designated Trey to function as “Administrative Assistant to the President” for a term ending July

 1, 2030 – a span of nearly fifteen years. Trey’s Contract elevated his Liberty salary from $65,000

 to $88,000 to start, and he was provided a special car allowance that pushed his total initial

 compensation to $95,200, before accounting for retirement benefits. Trey’s Contract came with a

 mandatory pay increase of 5% per year.

        26.     In 2017, Trey was promoted and given the title of “Vice President of University

 Services.” By July 1, 2017, Trey’s salary was raised to $195.000, plus the car allowance – which

 raised his total compensation to $202,200, again before accounting for retirement benefits. In this




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 new and advanced role, Trey technically reported to either the Chief Operating Officer or Chief

 Financial Officer, but for all practical purposes he reported to his father, the President and

 Chancellor of Liberty. Under the new agreement, Trey was an at-will employee of Liberty.

        27.     As a new Vice President and group leader, Trey often accompanied his father into

 meetings of the Executive Committee of the Liberty Board of Directors (“Executive Committee”).

 Trey joined these inner circle meetings on at least May 24, 2018, September 12, 2018, and April

 4 and 5, 2019. The latter two of these sessions were in part meetings involving the negotiation of

 Falwell Jr.’s 2019 employment agreement.

        28.     During Falwell Jr.’s tenure, Liberty capitalized on the explosive growth of online

 education, providing students worldwide with a quality experience of academic and biblical

 education remotely. Liberty also used the proceeds of on-line education to expand its beautiful

 campus, and build a sizeable endowment.

                                      The Granda Allegations

        29.     Granda became enmeshed with the Falwells quickly after they met in Miami, in

 part because of the familial treatment the Falwells accorded him early in the relationship. In

 addition to the intimate attention from Becki, Granda received invitations to Falwell family trips

 and gatherings, and a heady dose of access to important American business leaders.

        30.     In 2012, for example. Falwell arranged for Granda to come from Miami to

 Lynchburg to be introduced to Donald Trump, as the future president made a stop at Liberty to

 tour campus. In a keepsake photo capturing the occasion, Granda (right) posed with the future




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 leader of the free world while Becki (far left) and Falwell Jr. (center) looked on.




        31.     By participating in close family contact with the Falwells, and by enjoying

 important associations within the Falwell’s Liberty network, Granda came to understand how

 vulnerable the Falwells had made themselves by permitting his affair with Becki. Granda became

 closely exposed to Liberty’s high moral standards, which overtly clashed with Liberty’s first

 couple’s discordant sexual conduct and provided Granda with a tactical opening.

        32.     According to Falwell Jr., Granda began to undertake menacing actions toward the

 Falwells during this period. For example, Granda allegedly sold his friends “intimate” pictures of

 Becki that he had somehow acquired. Complaint ¶45. (Falwell Jr. does not say in his Complaint

 how Granda came into possession of those pictures.) Falwell Jr. alleges that Granda’s associates

 used these covert pictures to “try to extort” the Falwells. Id.

        33.     On information and belief, Falwell Jr. was able to quell this particular controversy

 over the racy photos. According to news reports, Falwell Jr. allegedly enlisted high-level

 Washington legal assistance, and the picture problem seemed to have gone away.




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        34.     The experience with the racy photos no doubt suggested to Granda that Falwell Jr.

 could be leveraged, and taught the young man that with persistence, a price might be paid by the

 Falwells to avoid embarrassment.

        35.     According to Falwell Jr., Granda’s other aggressive action early on was to record

 his phone calls and FaceTime communications with Becki, for the purpose of enhancing “extortion

 attempts” against the Falwells. Complaint ¶46. The Complaint does not disclose the content of

 these calls, but implies the subject matter implicated the Falwells in some embarrassing or

 prejudicial way – otherwise Falwell Jr. would not contend that the recordings were intended to

 “strengthen [Granda’s] extortion attempts.” Id. Reuters has released the contents of one such

 FaceTime call. https://mobile.twitter.com/Reuters/status/1297941806970220545

        36.     By late 2014, Granda was prepared to push further his scheme to press the Falwells.

 According to Falwell Jr.’s account, Granda approached Falwell Jr. for a payoff in exchange for

 staying silent about the Granda Allegations. Complaint ¶47. Granda allegedly demanded hush

 money ranging from $600,000 to $2 million. Id. Falwell Jr. did not inform Liberty’s Board of

 Trustees of this extortive conduct.

        37.     The Falwells openly concede that Granda’s behavior was targeted toward damaging

 not only the Falwells but also “Liberty University.” Complaint ¶¶43, 54, 62. To Granda,

 threatening Falwell Jr.’s role at Liberty – particularly given Liberty’s religious mission and

 detailed behavioral codes – was the center of his plot. Complaint ¶¶43, 54. It was Falwell Jr.’s

 prominent role at Liberty that fueled the Chancellor and President’s vulnerability. Id.

        38.     On information and belief, Granda had access to plenty of material that could have

 been deeply damaging to Falwell Jr. in the eyes of the evangelical community.




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        39.     The Falwells’ dealings with Granda also involved a significant financial investment

 in 2013 in property located in an underdeveloped part of Miami, which directly benefited Granda.

 The new company formed to buy the property was substantially financed by Falwell Jr., who

 loaned the venture $1.8 million. Ownership of the enterprise was given to Becki, Trey, and

 Granda. Once the development company was formed, it continued to house a liquor store despite

 being a location frequented by college-aged students staying in the on-site hostel, and despite

 Liberty’s general discouragement of the use of alcohol.

        40.     When the Miami business dealings between Granda, Falwell Jr., and Trey resulted

 in litigation, questions began to swirl about Falwell Jr.’s business ethics and other issues arising

 from the transactions. On information and belief, Granda was in position to expound on many

 such concerns, to the detriment of Falwell Jr., and thus, vicariously, to the detriment of Liberty.

        41.     Most damaging, Falwell Jr. knew that Granda would be able to provide detail about

 the fact of the affair with Becki, its duration, Falwell Jr.’s role in abetting it, the attendant

 circumstances of the affair, and the specific activities in which Granda, Falwell Jr., and Becki

 engaged during and after the affair (“the Granda Allegations”).

        42.     There is little doubt that Granda maintains a cache of material harmful to the

 Falwells.    At times since August 2020, media outlets have reported they were shown

 compromising documents, photographs, texts, and videos by Granda – material Granda shared

 with the media to bolster his credibility. Granda has implied in the media that he has more such

 information within his possession.

        43.     Since 2014, Falwell Jr. had every reason to fear what Granda might do with the

 Granda Allegations and supporting material. In his Complaint, in fact, Falwell Jr. emphasizes that




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 at various times from 2014 to 2019 Granda was not only acting opportunistically toward the

 Falwells, but even proceeding illegally. See Complaint ¶¶44, 45, 46, 47.

        44.     Falwell Jr. also took great pains to assert Granda’s overall volatility during this dark

 time. From Falwell Jr.’s own observation, Granda was demonstrating behavior that was “deeply

 disturbed,” “unstable,” “unbalanced,” “erratic,” “manipulative,” “self destructive,” “crazy,” and

 “verbally abusive.” Complaint ¶¶42, 44, 48, 49.

        45.     Falwell Jr. further accumulated some third-party assessments of Granda’s state of

 mind. In his Complaint, Falwell Jr. indicates that he was advised by some in Granda’s close circle

 that the young man was “racist,” “legitimately scary,” and someone with “unresolved

 psychological issues,” who was given to “rages,” and capable of tearing up his parents’ house.

 Complaint ¶¶49, 50.

        46.     Clearly, given Granda’s perceived plan to “destroy [the Falwells’] lives,” and

 Granda’s decaying stability, Falwell Jr. came to believe that something drastic and protective had

 to be done. After all, Falwell Jr. was the Chancellor, President, and a Trustee of Liberty, one of

 the country’s premier evangelical universities.

                                        Falwell Jr.’s “Granda Plan”

        47.     Instead of divulging to Liberty’s Board of Trustee’s Granda’s active attempts at

 extortion, Falwell Jr. instead led a scheme to cover up the illicit conduct. As alleged in the

 Complaint, Falwell worked diligently to coopt Granda into total confidentiality about the most

 perilous details of the young man’s relationship with the Falwells, and to suppress the damaging

 Granda Allegations.

        48.     The Falwells knew they shared a unity of interests with Granda. They had an

 important goal in common: silence about the Falwells’ salacious acts. The Falwell needed silence



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 from Granda in order to safeguard their personal reputation, Jerry Jr.’s professional standing, and

 his employment with America’s leading evangelical university.

         49.     Granda needed the Falwells to remain silent, too; Granda could not afford to let his

 “dirt” on the Falwells leak. If the media reported the bad facts that Granda had stored up about

 Falwell Jr. and Becki before Falwell Jr. paid hush money to Granda, then all leverage was lost.

 Granda’s scheme for a pay day from Falwell Jr would be valueless. Clearly Granda wanted to

 pressure Falwell Jr., but only so as to secure payment in exchange for Granda’s promise to hush

 the controversy.

         50.     Faced with Granda’s mounting extortive pressure, the Falwells had a decision to

 make: either they had to go public and expose Granda to Liberty, the authorities, and/or the media,

 or Falwell Jr. had to pay Granda off, and convince Granda to remain quiet forever. Despite his

 clear duties as an executive and officer at Liberty, Falwell Jr. chose personal protection. He

 committed himself to non-disclosure, and actively developed an approach to muzzle Granda.

         51.     To effectuate Granda’s silence, Falwell Jr. and Becki accelerated efforts to build

 Granda’s friendship in the hopes that the young man would mature, would accept Becki’s

 rejection, and would move forward in a way that would result in everyone involved being able to

 live a productive life.

         52.     The Falwells drew Granda ever closer into their family life, effectuating a “Granda

 Plan.” They attempted to make Granda loyal to their family in order to curb Granda’s bent toward

 the destruction of Falwell Jr., and his role at Liberty.

         53.     For six years – from 2014 to 2020 – the Granda Plan worked. Although they

 described Granda as a “deeply disturbed and unstable individual,” Complaint ¶42, the Falwells

 managed to cultivate a “positive relationship” with him. Complaint ¶44. It is evident that the




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 Falwells’ aim was to “placate” Granda, and in large part they succeeded for a long time. Id.

 According to the Statement, they “manage[d] [Granda’s] increasingly erratic behavior….”

        54.    The following were among the acts of appeasement that the Falwells used over the

 years to maintain Granda’s cooperative silence:

               a.      The Falwells hosted Granda socially at their Virginia farm, pairing him with

                       their son Trey on an ATV outing around their sprawling country property;

               b.      Granda joined the Falwells in the Florida Keys. During this trip, Falwell Jr.

                       posed with Granda paternalistically – arm around him, drink in hand:




               c.      Posing outside the Liberty jet, the Falwells took pictures with Granda and

                       former Miami business partner Gordon Bello.




               d.      The Falwells also brought Granda along for other family excursions, pairing

                       him with Trey. For example, on September 6, 2018, the Falwells arranged



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                   for then-Congressman Bob Goodlatte to host them on a tour of the U.S

                   Capitol.   Granda joined with Jerry, Becki, Trey, and Trey’s wife Sarah.

                   Granda once again appeared in the family photos – one set on a rooftop vista

                   atop the Capitol, and another of the group gathered in front of the Thomas

                   Jefferson statute.




                   (Granda is third from the left, in the rear.)




                   (Granda is second from the left.)




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                e.      Finally, the Falwells befriended some of Granda’s girlfriends.       These

                        proactive relationships helped the Falwells amass useful information about

                        Granda, permitting them to understand his tendencies and manage Granda

                        with more awareness. Complaint ¶¶ 48-50.

        55.     As 2019 began, Falwell Jr. had shrewdly controlled Granda for nearly five years.

 In that span, Granda had not disclosed externally the sensitive information about the Falwells.

 Given what Falwell Jr. had observed of Granda’s troubled character, and of the voracious appetite

 of the media for negative news about Liberty, Falwell Jr. had no reason to believe the détente he

 had built with Granda at Liberty’s expense would much longer hold.

        56.     Falwell Jr.’s employment contract at Liberty was set to expire June 30, 2019, and

 Falwell Jr. knew the negotiation of a new agreement was the optimal time to profit personally from

 Liberty’s considerable growth in finances and enrollment that occurred during his tenure. Falwell

 Jr. took space in his Complaint to proudly display that financial legacy. The time for Falwell Jr.

 to cash in on Liberty’s prodigious success had arrived.

                              Outside Pressures on the Falwell Presidency

        57.     While he had overseen a one billion dollar building campaign on Liberty’s campus,

 and had set in place a plan to create a sizeable endowment, Falwell Jr. had also launched a

 substantial campaign to attract notable public and private figures to Liberty’s campus. Through

 this process, Falwell Jr. was augmenting the school’s growing reputation as a forum for the

 discussion of important public issues. But Falwell Jr.’s success was also attracting national

 attention, and his outspoken personal support for major public figures was engendering opponents

 that harshly criticized and targeted him personally.




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        58.     In 2016, Falwell Jr. surprised the evangelical world by endorsing Donald Trump

 for the presidency. This move was particularly delicate because Senator Ted Cruz, a leading Trump

 competitor in the primaries, had used an earlier appearance at Liberty to give his first speech after

 announcing a presidential candidacy of his own.

        59.     According to his lengthy Facebook post of January 27, 2016, Falwell Jr. became

 convinced that Trump was the optimal choice for President due to his business acumen and

 conservative social principles. Falwell Jr. thought Trump could get things done, even if it meant

 disrupting entrenched special interests. Trump was an outsider, distanced from the usual suspects

 who were toiling away in the engine room of Washington politics.

        60.     The problem for Falwell Jr. was that Trump – a thrice-married man – was hardly a

 natural cultural hero for evangelicals. Falwell Jr. took steps to redress this challenge. Falwell Jr.

 committed to work with his peer evangelicals to help make Trump’s checkered past something

 Christian leaders could accept and overlook.

        61.     To address this agenda, Falwell Jr. endeavored to sidestep defending Trump’s

 character and instead advance a theological argument to persuade Christian leaders and voters to

 forgive Trump rather than judge him. Like Jesus, Falwell Jr. exhorted his evangelical colleagues

 to examine the sin in their own lives and then reconsider their criticism of candidate Trump

 accordingly.

        62.     Falwell Jr. took to major social media platforms and news outlets to advocate this

 apologetic stance. The following are a few examples of that message:

                a.      In the aforementioned Facebook post of 2016, Falwell Jr. wrote that no

                        Christian voter has standing to dismiss Trump’s spiritual fitness because

                        “all of us are sinners and only Jesus was perfect.” Embracing evangelical




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                      doctrine, Falwell Jr. pointed to a “sinner” class – and then included within

                      it Trump, himself, and every potential evangelical critic and voter.

               b.     In the same Facebook post, Falwell Jr. advised the evangelical community

                      to refrain from picking the best Christians as Presidential candidates –

                      because no one but God could ever really know their heart. Falwell Jr.

                      argued that Christians do not get to play God because “we are all sinners.”

               c.     On January 25, 2018, Falwell Jr. returned to this theme during a CNN

                      interview conducted by anchor Erin Burnett. Falwell Jr. repeated the

                      justification that Trump deserved to be a political leader embraced by

                      Christians because “we’re equally bad, we are all sinners; we all need

                      Christ’s forgiveness. That’s why evangelicals are so quick to forgive.”

                      https://www.cnn.com/videos/politics/2018/01/25/jerry-falwell-jr-trump-

                      forgiveness-ebof-sot.cnn

               d.     Later in 2018, Falwell Jr. once again appeared on CNN, and he again

                      advanced this theme, stating “we are all sinners; nobody understands that

                      better than evangelicals. That’s why we’re Christians because we all know

                      we need forgiveness.”

                      https://www.cnn.com/videos/us/2020/08/24/jerry-falwell-jr-public-

                      controversies-athena-jones-pkg-ebof-vpx.cnn

        63.    As 2019 approached, Falwell Jr. openly conceded that he was worrying about what

 had become the omnipresent “threat that [Granda] posed.” Complaint ¶44. In fact, the stress of

 managing Granda and avoiding discovery was wearing Falwell down. At any moment, Falwell Jr.

 knew Granda could destroy Falwell’s reputation as a Christian leader and reduce to rubble his




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 value to Liberty as a business asset. Falwell Jr. would then be in the well-known category of

 leaders requiring substantial forgiveness. Falwell Jr. was wracked with “constant anxiety.” Id. He

 desperately needed to cut Granda off completely, a course fraught with substantial risk. Because

 Falwell Jr. wanted more financial protection to weather the fallout if he could no longer manage

 Granda, Falwell Jr. began to fashion a well-resourced exit strategy.

        64.     To confront the Granda Allegations with more than the shaky barrier of the Granda

 Plan, Falwell Jr. fashioned a deceitful scheme to manipulate the Executive Committee of Liberty.

 In the course of the employment contract negotiations, Falwell Jr. planned to accentuate to the

 Executive Committee the new leagues into which Falwell Jr. had brought Liberty, and that some

 of the actions he undertook in that league, such as the rough-and-tumble of Presidential politics,

 might damage Falwell Jr.’s utility to the non-profit Liberty. There could come a time when the

 school might need to separate from Falwell Jr. for non-material actions. Falwell Jr. planned to use

 his growing awareness of personal attack which he had encountered in honorable service raising

 Liberty’s profile in his attempt to relax the severance policies in the President’s existing contract.

 Falwell wanted to create a new contract that permitted Liberty the option to part with Falwell

 amicably while making it palatable financially for Falwell to accept that protective action. In 2019,

 Falwell Jr. acted on this undertaking.

                           The 2019 Falwell Jr. Employment Agreement

        65.     On or about July 6, 2012, Falwell Jr. had entered into a Presidential employment

 agreement with Liberty (the “2012 Employment Agreement”). This deal, which became effective

 April 1, 2012, provided for a seven-year compensation schedule that rewarded Falwell Jr. with

 annual raises. It also provided, in Section 9, that if Falwell resigned he would receive one year of

 compensation as severance.



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        66.     The 2012 Employment Agreement expired on June 30, 2019. In Section 3.1 of the

 2012 Employment Agreement, the parties agreed that “[t]he University is not obligated to offer

 Falwell employment for any period beyond the expiration date of this Agreement.”

        67.     By the time Falwell Jr. and Liberty had to announce a new agreement, Falwell Jr.

 knew he was under active threat of extortion from Granda. Falwell Jr. also knew that Liberty’s

 Executive Committee did not know that fact. Although he was President and Chancellor, and had

 the highest level of obligation to be candid and truthful with Liberty’s board, Falwell Jr. did not

 inform the Executive Committee about Granda’s extortive threats during the 2019 contract

 negotiations, or give the Liberty board any reason to understand the serious reputational damage

 to Liberty that Granda’s threats represented.

        68.     True to his previous plan, Falwell Jr. did not reveal to the Executive Committee the

 danger that Granda represented to Liberty. Instead, Falwell Jr. sought from the Executive

 Committee to provide him with a safety valve to protect him from such actions as having raised

 his profile in 2016 by being the first major evangelical leader to personally endorse Donald Trump

 for President. Falwell Jr. claimed that he wanted an escape hatch for political and personal fallout.

        69.     After negotiation, the Executive Committee agreed to a new services deal (the 2019

 Employment Agreement). Falwell Jr. succeeded in sweetening the new deal in at least the

 following material ways: first, he negotiated a significant annual raise to $1,250,000 a year, which

 became his “permanent” pay all the way through 2030; second, in Section 8 and Section 9 of the

 2019 Employment Agreement, Falwell Jr. arranged for a severance of two years’ pay, or

 $2,500,000 if he resigned for “Good Reason,” or if Liberty terminated his employment without

 “Cause.” Third, he obtained a catch-up “rabbi trust” plan for retirement benefits that would cover

 his entire career of service at Liberty but had not been part of any previous employment agreement.




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        70.     Falwell Jr. wanted Liberty to pay severance and retirement benefits to him if

 Granda revealed the Granda Allegations, and Falwell Jr. thus knowingly withheld from Liberty

 material information that would have altered the nature of the negotiations of the 2019

 Employment Agreement. Falwell Jr. said nothing of his belief that procuring Granda’s silence

 might in time require a higher price unless Granda was confronted and completely managed. To

 be sure, Falwell Jr. knew that family photos taken in nice places would not contain Granda forever.

                           Falwell's Auspicious Acts of August of 2020

        71.     The pressure of Granda’s threats was increasingly getting to Falwell Jr. With his

 new 2019 contract in hand, and with Liberty none the wiser about Granda’s extortive behavior,

 Falwell Jr. had an opportunity to take a firmer stand against his blackmailer.

        72.     Emboldened by the financial security that he had negotiated for himself, Falwell Jr.

 struck out at Granda, unleashing the obvious prospect of damaging retaliation by Granda. Falwell

 Jr. states in his Complaint that on June 30, 2019, he told Granda in electronic communication that

 Falwell Jr. would provide no payday and the extortion attempts would have to end. Complaint

 ¶¶55, 56.

        73.     To manage his stress, Falwell Jr. began drinking significantly. There were concerns

 that he smelled of alcohol during work interactions, but to the outside world, Falwell Jr. remained

 mostly within the baselines of his obligations. That ended in August 2020.

        74.     The Falwell family took some floating vacations on yachts provided by business

 partners of Liberty. One such excursion took place during late July 2020. During that span, the

 Falwells held a costume party centered around the characters of the Canadian mockumentary the

 Trailer Park Boys. https://www.swearnet.com/shows/trailer-park-boys. Promotional copy for the

 show bills the series as exploits by “three lovable career criminals as they rob liquor stores, fence



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 stolen goods and dream of pulling off one last, big score.” Overall, the tone and content of the

 show is vulgar.

        75.     The most crafty of the three prime characters is ex-convict Julian, whose trademark

 look is a black goatee, black T-shirt, pair of black jeans, and an omnipresent glass of rum and Coke

 in his hand. Julian runs illegal businesses. A sidekick, Trinity, is a redheaded woman who

 becomes pregnant in one episode and, due to a hapless mix-up, later delivers a baby bearing on his

 birth certificate the moniker “The Motel.” The little boy became nicknamed “Mo.”

        76.     Falwell Jr.’s entire immediate family was part of this event with attendees dressing

 as Trailer Park Boys characters of their respective choosing. Falwell Jr. also invited his personal

 assistant, Sam Stone, and Stone’s wife, Kathleen, who was a Liberty employee, to come on the

 trip. During this event, Falwell, Jr. outfitted himself in a costume to emulate the character Julian,

 Falwell Jr.’s beard blackened in part for the occasion. Kathleen Stone, who was pregnant at the

 time, dressed up correspondingly as “Trinity,” mother of the character Mo, which meant she

 donned a pair of Daisy-Duke cutoff jeans, unbuttoning them to accommodate her real-life

 pregnancy. Falwell, Jr., as “Julian,” similarly unbuttoned his jeans – in apparent solidarity with

 “Trinity’s” actual condition. “Julian” toted his obligatory tumbler of black liquid in his left hand.

        77.     Over Kathleen and Sam Stone’s objections, Becki Falwell took a picture of “Julian”

 and “Trinity” posing in character, pants both unbuttoned. Falwell Jr. promised not to show this

 photo to others.

        78.     On August 3rd, Falwell Jr. – breaking his promise to the Stones – shared this image

 with his entire Instagram following. The picture went viral and became an immediate internet

 sensation. It was paired soon thereafter with a video of the Falwells’ Trailer Park Boys party that




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 also went viral on the internet. https://pulpitandpen.org/2020/08/04/bizzare-jerry-falwell-jr-yacht-

 pictures-were-from-trailer-park-boys-themed-party/.

        79.      Following is Falwell Jr.’s Instagram post, and one commentator’s reaction.




        80.     Media reaction to the Falwells’ exploit was swift, and harsh. Critical articles soon

 appeared in numerous high-profile media outlets, including the Washington Post, Huffington Post,

 and Politico, and from commentators on CNN and the View.




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        81.     One online commentator performed an analysis to attempt to gauge the punishment

 that a Liberty student might endure for posing in this photo, based on the code of conduct in the

 Liberty Way. The analyst concluded there were 63 counts of potential violation, which would

 conceivably net a student up to $9,000 in collective financial fines, with a further punishment

 possible of up to 900 hours of community service.

        82.     Realizing that he had made a serious mistake – Falwell Jr. deleted the Instagram

 post shortly after its August 3rd release. But Falwell Jr. soon made a compounding blunder.

 Rather than engage Liberty’s public relations group to assist with the fallout, Falwell Jr. instead

 took to the airwaves attempting his own clean up. He called in to a local Lynchburg radio station

 on August 5, 2020 and offered a slurred explanation of the unzipped pants photo, dismissing it as

 “good fun” and drawling that he had apologized to his family and promised going forward he

 would be a “good boy.” https://pulpitandpen.org/2020/08/07/liberty-pres-jerry-falwell-jr-justifies-

 scandalous-yacht-pictures-whatever-whatever-it-was-all-in-good-fun/.

        83.     Commentators on social media questioned Falwell’s sobriety during the radio show

 call-in. While he addressed the world about this unseemly subject through radio access, Falwell

 Jr. issued no August 5th apology to the Board at Liberty regarding the incident, nor did he issue a

 promise to Liberty of improved behavior going forward.

        84.     At this low juncture for Falwell Jr., his wife Becki stepped in. After the radio show

 incident, she contacted three members of the Liberty Executive Committee to alert them to what

 she described as her husband’s excessive use of alcohol. She expressed concern that drinking was

 adversely overtaking Falwell Jr.’s thinking and actions. She believed he needed to go away for

 treatment, and that it was time to take that course. Becki’s heartfelt appeal made an impact on




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 Liberty’s leaders and helped provide a context for understanding Falwell’s questionable public

 comments, worrying behavior, and inappropriate social media posts.

        85.     On August 7, 2020, the Executive Committee conferred with Falwell Jr, and he

 concurred it was best that he take time off to heal physically and spiritually. In the meeting, Falwell

 Jr. conceded that he had fallen short of Presidential standards and he took full responsibility for

 his actions. He committed to a sabbatical to treat and refresh, which the Executive Committee was

 inclined to support.

        86.     Importantly, Falwell Jr. indicated in the August 7th meeting that he had considered

 providing deeper detail about personal matters that might have driven him to lodge the offending

 vacation posts, but he concluded he did not think it was necessary. This comment did not strike

 the Executive Committee as particularly compelling at the time, although it would become pivotal

 as events unfolded.

        87.     On a more superficial level, Falwell Jr. did muse in the meeting that he might have

 become bored during the slowdown caused by COVID-19. Falwell conceded he had been doing

 silly things that he should not have let distract him. The prospect of a cure to a pattern of antics

 heartened Liberty’s Board leaders.

        88.     The August 7th meeting ended with the Executive Committee’s expression of love

 for Falwell Jr. and the members’ commitment to pray for him. It was agreed that Liberty would

 place Falwell Jr. on a leave of absence during which it would pay for Falwell Jr.’s rehab. The

 Executive Committee further agreed to recommend this course of action to the full Board for

 ratification, and determined that it would release a brief statement followed by a more expansive

 one. The Executive Committee lastly decided that President Falwell Jr. would not issue a statement

 of his own.




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        89.     True to plan, Liberty briefly announced Falwell Jr.’s leave of absence immediately,

 and circumspectly. Once that message was out, communication professionals worked on a longer

 statement from the Chairman of the Board of Trustees. The Executive Committee then proceeded

 toward resolving a treatment plan for Falwell Jr., leaving latitude for him to define details within

 the parameters of the previously-understood course.

        90.     As the days wore on, however, it was obvious Falwell Jr. was forming a vastly

 different conception about the leave of absence than Liberty had outlined. By August 17, 2020,

 Falwell Jr. was suggesting more superficial approaches, while Liberty continued to insist on

 residential treatment acceptable to the Executive Committee.

        91.     If there was a breaking point in Falwell Jr.’s relationship with the Executive

 Committee, it was arriving at the appropriate type of treatment that had been in discussion since

 Becki had called for it. Falwell Jr.’s change of heart, and the lapse into denial that it reflected,

 deeply worried the Executive Committee.

        92.     On August 24, 2020, Falwell Jr. arced yet another bombshell into the Executive

 Committee’s path. On that day, the Executive Committee learned from counsel that the day before,

 on August 23, 2020, Falwell Jr. had submitted the Statement to the Washington Examiner, his

 attempt to pre-empt a tell-all feature that Granda himself had been preparing to publish with

 Reuters. This revelation was coupled with a suggestion to Liberty by Falwell Jr. and his attorneys

 that the Liberty President could just tender his resignation under the contract as a viable resolution

 to the swirl of controversy that would inevitably ensue on the heels of the disclosure of the dueling

 versions of the long-concealed extra-marital affair and attempt at extortion.

        93.      Falwell Jr.’s employment contract forbade him from publishing without the

 Liberty Executive Committee’s prior assent to the copy. The Executive Committee had expressly




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 forbidden a post about Falwell’s sabbatical. Regardless, with the briefest of advance notice to

 Liberty, Falwell Jr. self-issued the Statement, a 1200-word statement that the Washington

 Examiner published verbatim, bracketed by some reporting and analysis by the publication, and

 Falwell’ Jr.’s own commentary. In the Statement, Falwell Jr.’s “confession,” Falwell Jr. advised

 the Washington Examiner about matters he never revealed to the Liberty Executive Committee.

        94.     In the Statement, Falwell Jr. acknowledged it was wrong of him to have suppressed

 the information about Granda’s extortion from his Board and the wider Liberty family. He

 admitted that “the Liberty community deserved to hear” the salacious story directly. He concluded

 that “the only way to stop [Granda’s] predatory behavior [was] to go public.” He conceded that

 “I shouldn’t have been afraid to admit my vulnerabilities and to reach out for assistance from

 mental health professionals….” Falwell Jr. ended his admission with an appeal for the community

 to extend to the Falwells their “forgiveness.”

        95.     Through these media communications, Falwell Jr. offered detail to Liberty that the

 Executive Committee never had at the time of the 2019 Employment Agreement, namely the

 sordid backstory behind his August 2020 blow-up with Granda, and the demise of the Granda Plan

 that was prompted by Falwell’s alleged final rejection of Granda’s demands on June 30, 2020.

        96.     By choosing to release the Statement to the public before fully vetting the Granda

 Allegations to Liberty, Falwell Jr. deprived Liberty of the ability to handle this matter as a purely

 internal Liberty employment affair.

        97.     At the time of his soul-searching August 23 disclosure to the Washington Examiner,

 Falwell Jr. knew that his new Employment Agreement was signed. He also knew that he had

 negotiated a severance and retirement package that credited him with more base pay, twice the




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 severance, a funded retirement plan, and a right, perhaps, to collect all of that even if Liberty fired

 him.

        98.       On August 24, 2020, Granda unveiled his side of the sordid story, in the form of an

 explosive     Reuters    article.   https://www.reuters.com/investigates/special-report/usa-falwell-

 relationship/. Video and audio recordings supporting some key details of Granda’s story were

 posted online.

        99.       Granda struck out at Falwell Jr. while the Liberty President was being pilloried in

 the media. Granda’s retaliation took full advantage of Falwell Jr.’s self-inflicted wounds over the

 “unzipped pants” picture. Granda unveiled all the embarrassing details that Falwell Jr. had worked

 with Granda since 2014 to suppress. Granda and Reuters spun an account of predatory action by

 the Falwells against a boy the age of a Liberty student.

        100.      Out of the Reuters piece came Granda’s version of the longstanding affair between

 Becki and Granda, and a cover-up process led by Falwell Jr. These were issues about which

 Falwell Jr. had actively kept Liberty in the dark, as Falwell Jr. had confessed for the very first time

 the day earlier to a third party, in his unauthorized Washington Examiner submission. The media

 coverage from other outlets mostly used Falwell Jr.’s own statement from the Washington

 Examiner to bolster Granda’s credibility.

        101.      After consultation, the Executive Committee authorized negotiations to take

 Falwell Jr. up on his offer to resign. After considering delay, the Executive Committee and the

 Board advised Falwell Jr. that he should resign at once or face the prospect that the Executive

 Committee would recommend his termination to the full Board.

        102.      The Executive Committee’s decision was driven by a number of factors: the litany

 of compromising decisions entered into by Falwell Jr., Becki’s revelation about the alcohol abuse




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 that was fueling this erratic string of events, Falwell Jr.’s denial of an alcohol problem. Falwell

 Jr.’s resistance to commit to treatment deemed appropriate by the Executive Committee, Falwell’s

 now-admitted concealment and misrepresentation of the Granda Allegations, and Falwell Jr.’s

 unwillingness to take seriously the grave threat that his aggregate actions posed to Liberty.

        103.    On August 25, 2020, Falwell Jr. finally conceded that complete resignation was in

 his best interest. He did so, however, after changing his mind about resignation and trying to

 negotiate for more in separation from Liberty than his contract afforded him.

        104.    While Falwell, Jr. agreed to step aside, it was with shallow appreciation for the far-

 ranging damage he had caused. In unauthorized commentary to the media, Falwell stated: “The

 board put me on leave for showing my belly in a picture and my contract doesn’t allow that…I’m

 58 years old, and I think there’s something else in the cards for me. And so the board was gracious

 in accepting my resignation ... and it’s time to move on.” https://wset.com/news/local/we-have-

 the-strongest-relationship-becki-speaks-out-on-affair-denies-jerry-watched.

                        Falwell Migrates From Forgiveness-Seeker to Fighter

        105.    Falwell Jr.’s resignation from the Presidency did not unfold as contemplated. The

 Executive Committee became growingly concerned that Falwell Jr. was honoring neither his

 commitment to leave nor his contract. On information and belief, and according to news reports,

 Falwell Jr. – a practicing Virginia lawyer – had conferred improperly about his employment

 situation with counsel that Liberty had retained on other cases in which Falwell Jr. had been a

 fiduciary of the Board, and witness. https://www.reuters.com/article/us-usa-falwell-relationship-

 exclusive/exclusive-business-partner-of-falwells-says-he-had-long-affair-with-evangelical-

 power-couple-idUSKBN25K1ZO. The subject matter of the interaction with Liberty’s chosen




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 counsel was Falwell Jr.’s personal employment rights against Liberty. As Falwell Jr. knows,

 Virginia ethics laws do not permit such consultation.

        106.     Falwell Jr. soon retained appropriate, non-conflicted counsel. Falwell Jr. began

 pushing back against the terms of his resignation. Falwell Jr. improperly and errantly announced

 to the media a $10.5 million expectation for his severance. The agreement Falwell Jr. negotiated

 specified $2,500,000 – two years’ pay, at the President’s newly-negotiated and expanded rate.

        107.    Liberty was unsure if Falwell Jr.’s representation to the media was just puffery and

 bragging or some attempt to set up a claim for additional compensation above and beyond what

 appeared in Falwell Jr.’s contract as stated pay for resignation.

        108.    On August 28, 2020, the Executive Committee agreed to satisfy Falwell Jr.’s

 demand for a “Good Reason”- resignation, together with its severance payout. Falwell Jr. was

 thus able to take advantage of the escape hatch that he had negotiated into the 2019 Employment

 Agreement, his insurance policy against the simmering Granda Allegations that he told the

 Washington Examiner was “predatory behavior,” and a “‘fatal attraction’ type situation.”

                                       Falwell Jr.’s Hard Fall

        109.    A 911 call on August 31, 2020 brought police to the Falwells farm on Becki's report

 that Falwell Jr. had locked himself in, and had stumbled down stairs, experiencing injuries. Police

 and medics attended. Falwell Jr. was reported to present with abrasions and slurred speech. Media

 obtained the 911 call and subsequent reports. First responders spotted alcoholic beverage

 containers about the premises. While Falwell Jr. advised the Washington Examiner on August

 23rd that he was in the “early stages of addressing” issues of mental health, the process appeared

 not have proceeded very far.




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        110.    Though momentarily humbled by news media’s extensive examination of and

 criticism about his private failings, Falwell Jr. had re-emerged willing again to practice his

 particular brand of disdain for those who would challenge him – even those who built the platform

 that made him the household name Falwell Jr. is today. On October 28, 2020 Falwell filed a

 lawsuit against Liberty alleging defamation.

        111.    In the Complaint, Falwell in the main blames Becki for the Granda affair and cover-

 up. He shows little empathy for the woman who sought treatment for him for alcohol abuse, and

 whose loyalty and fear for his well-being fueled her outreach to Liberty’s Executive Committee.


                           COUNT ONE: BREACH OF CONTRACT


        112.    Liberty incorporates paragraphs 1 to 111 above.

        113.    The 2019 Employment Agreement, at Section 3.8, permits Falwell Jr. access to

 “confidential information of LU pertaining to students, athletes, employees, donors, operations,

 processes, strategies, finances, suppliers, vendors, contracts and other matters not publicly

 disclosed by LU (‘Confidential Information.’) Confidential Information remains the property of

 LU.”

        114.    During his employment, Falwell Jr. worked independently on many of the deals,

 strategies, negotiations, and undertakings impacting Liberty. He had complete access to files,

 records, notes, emails, data, and information pertinent to the categories of Confidential Information

 detailed above.

        115.    Falwell Jr. also had access to a wide variety of key Liberty documents including,

 but not limited to: email, letters, correspondence, memoranda, telegrams, notes, reports,

 compilations, data, notebooks, laboratory, notebooks, work papers, graphs, charts, blueprints,

 books, pamphlets, brochures, circulars, manuals, instructions, ledgers, drawings (including


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 engineering, assembly and detail drawings), sketches, photographs, diaries, sales literature,

 advertising literature, agreements, meeting minutes, punch cards, magnetic tape or wire, other

 machine producible records including films, video and sound reproductions, printout sheets,

 electronic records such as text messages, summaries or records of telephone conversations,

 personal conversations or interviews, and any and all other writings, typings, printings, drafts,

 copies and/or mechanical, magnetic, optic, or photographic reproductions or recordings

 (“Documents”).

        116.   There are several distinct but intersecting sources rooted in employee and

 contractual obligations that imposed a duty upon Falwell Jr. to preserve and return Liberty

 property, including Documents and Confidential Information.

        117.   First, as Liberty’s Chief Executive Officer, Falwell Jr. was tasked with abiding by

 and administering the enforcement of Liberty’s technology policies, including those related to

 computer data and storage policies. For example:

               a.      Section 2.7 of the Liberty University Employee Handbook provides that

                       “[a]ny and all materials and information (‘Confidential Information’)

                       provided by the University, any related subsidiaries, its employees or agents

                       during the course of an employee’s employment by the University and

                       thereafter shall remain the property of the University.” Section 2.7 also

                       provides that “[u]pon termination of employment, the employee shall return

                       all such Confidential Information to the University.”

               b.      -Section 7.3 of the Handbook (Computer Use) provides that “All

                       information created or contained on the University’s computers and




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                        network, including electronic mail (E-mail), remains the property of the

                        University.”

                c.      Section 7.15 of the Handbook (Return of Property) provides that “On or

                        before the employee’s last day of work, the employee is required to return

                        all property.”

        118.    Second, the technology security policy governing all Liberty-affiliated technology,

 to which all users must consent as a condition to accessing Liberty-owned technology, ensures that

 all Documents and Confidential Information remain the property of Liberty.

        119.    Third, to cater to Falwell Jr.’s executive convenience, on information and belief,

 Liberty paid for and provided Falwell Jr. with a variety of devices and systems which allowed

 Falwell Jr. to store Documents and Confidential Information both within and outside of Liberty’s

 technology systems. These devices and systems include, but are not limited to: (a) an Aruba Cape

 Sensor and yearly technical support; (b) Lumos Inc. internet wiring; (c) a Surface Pro 3 laptop,

 bearing serial number 57462443253; (d) an Apple MacBook Pro 11 with expanded storage

 memory, bearing serial number C02LG708FH00; (e) an HP EliteOne 1000 G2, bearing serial

 number 8CC9204VH0; (f) an Apple iMac 27” with expanded storage memory, bearing serial

 number C02YH3HRJV40; (g) a Carbonite Backup cloud backup system for which Liberty was

 paying as early as August 2, 2016; (h) a Dropbox cloud storage account for which Liberty was

 paying as early as January 27, 2018; and (i) a personal Earthlink email account to which Falwell

 Jr. forwarded all emails that he sent and received at his assigned liberty.edu email address.

        120.    Falwell Jr. used these Liberty-provided devices and systems, among others, to

 create, receive, and store Liberty Documents and Confidential Information.




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         121.   Fourth, Liberty’s general document preservation and retention policy imposed a

 duty upon all Liberty employees, including Falwell Jr., to preserve and, upon termination of

 employment, return all Liberty Documents and Confidential Information.

         122.   Fifth, Section 3.8 of the 2019 Employment Agreement expressly provides that

 “Confidential Information remains the property of LU.”

         123.   In addressing the timing of the return of Confidential Information, the Agreement

 treats tangible and non-tangible information differently. Specifically, Section 3.8 provides that

 “[a]ny Confidential Information in tangible form shall be immediately returned to LU upon

 request” (emphasis added). Section 3.8 thus required Falwell Jr. to return any tangible property

 immediately upon demand, and any non-tangible property within a reasonable time frame

 thereafter.

         124.   Six, Liberty’s governance documents, including its Bylaws and Articles of

 Incorporation, imposed a duty upon Falwell Jr. to administer and follow all Liberty policies. For

 example, Article III, Section II of Liberty’s Amended and Restated Bylaws provides that the

 “President is responsible for the adoption of administrative policies, rules and regulations that

 govern the day to day operations of the University.” Such policies include technology and property

 preservation and retention policies.

         125.   Seventh, during his employment with Liberty, first as General Counsel, then as

 President and Chancellor, Falwell Jr. was subject to various legal holds. These legal holds imposed

 a duty upon Falwell Jr. to retain and preserve certain Liberty Documents and Confidential

 Information.




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        126.    Thus, upon termination of his employment, Falwell Jr. had a contractual duty,

 drawn from multiple sources, including those specified above, to return all Liberty property,

 including Documents and Confidential Information.

        127.    Falwell Jr. breached his contractual duty by failing to fully return all Liberty

 property after termination of his employment even though Liberty has asked for its return, a

 demand Falwell has heretofore breached

        128.    On information and belief, Liberty has been damaged in an amount in excess of

 $250,000, a number that it may have to revisit as discovery progresses.

   COUNT TWO: BREACH OF CONTRACT– EXCESS BENEFITS TRANSACTIONS

        129.    Liberty incorporates paragraphs 1 to 128 above.

        130.    Falwell Jr. has also engaged in other actions in violation of contractual provisions

 that resulted in improper excess benefits to Falwell Jr. and his family.

        131.    Pursuant to the 2012 Employment Agreement, as amended effective May 24, 2017,

 attached hereto as Exhibit 3, and the 2019 Employment Agreement, attached hereto as Exhibit 4,

 Falwell Jr. was Liberty’s President and Chancellor. As Liberty’s President and Chancellor,

 Falwell Jr. was tasked with overseeing the implementation and enforcement of Liberty’s policies

 and procedures.

        132.    Specifically, Sections 3.2 of the 2012 Employment Agreement and the 2019

 Employment Agreement task Falwell Jr. with “ensuring the implementation of the University’s

 mission and purposes as described or defined in the University’s Articles of Incorporations,

 Bylaws, and other foundational documents,” “overseeing the fiscal, administrative, admissions,

 academic, athletic and other operations, divisions, departments and offices of the University,” and




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 “implementing and executing policies, orders and resolutions adopted or established by the LU

 Board of Trustees and its Executive Committee.”

        133.    Moreover, Sections 3.3 of the 2012 Employment Agreement and the 2019

 Employment Agreement provide that Falwell Jr. “shall be accountable to the Board of Trustees

 for implementing its policies and carrying out his duties.”

        134.    Article III, Section 2 of the Liberty Bylaws, which are incorporated into the 2012

 Employment Agreement and the 2019 Employment Agreement, provides that Falwell Jr., as

 President, “shall see that all Board policies and resolutions of the Board are administered and

 implemented under his general supervision.”

        135.    As such, under the 2012 Employment Agreement, as amended, the 2019

 Employment Agreement, and the incorporated foundational documents, Falwell Jr. had a

 contractual duty to administer and implement all Liberty policies and procedures.

        136.    One such duty was Falwell Jr.’s personal obligation to ensure that accurate factual

 information and supporting documentation were submitted to persons responsible for financial

 controls such that proper determinations could be made regarding which of an employee’s claimed

 expenses were Liberty business and which were in fact personal. Under Liberty’s policies and

 practices, it was the employee’s non-delegable duty to ensure that correct information and

 contemporaneous documentation were provided to those involved in achieving compliance with

 Liberty’s expense policies and practices.

        137.    Another such duty was Falwell Jr.’s obligation to ensure Liberty’s compliance with

 applicable IRS standards and regulations. As part of this larger duty, Falwell Jr. not only had a

 nondelegable duty to properly classify and submit any paperwork and explanations he offered to

 Liberty’s compliance managers personally or through designees, but then to also approve any final




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 expense reports prepared on the basis of and reflecting his representations, and to properly direct

 those individuals responsible for processing financial matters.

         138.   From 2017 to 2020, Falwell Jr. breached this duty at times by improperly

 classifying personal expenses as authorized Liberty business expenses. Falwell Jr. directly

 benefited from these transactions personally as Liberty has already paid for or provided fringe

 benefits, and Falwell Jr. has not reimbursed Liberty for them.

         139.   Liberty has advised Falwell Jr. on multiple occasions that, based on the standards

 set forth in section 4958 of the Internal Revenue Code of 1986, as amended (26 U.S.C. § 4958),

 and the IRS’ underlying regulations, Liberty had identified various excess benefit transactions

 (“EBTs”). These EBTs were ascribed to Falwell Jr. and totaled approximately $1,188,750. Liberty

 advised Falwell Jr. that Liberty would be forced to report these EBTs to the IRS, and would seek

 to be reimbursed.

         140.   In response, Falwell Jr., through his counsel, largely denied that the transactions

 were EBTs. Falwell Jr., through his counsel, offered only a token reimbursement of $9,087 to

 Liberty demand for reimbursement for all of the EBTs to which Falwell Jr. benefitted.

         141.   Liberty filed its Form 990 in May 2022, as required by the Internal Revenue Code.

 Form 990 requires the reporting of any excess benefit transactions as required by Internal Revenue

 Code section 4958. Federal tax law requires Liberty to reasonably pursue collection of EBTs, as

 part of Liberty’s efforts to maintain the requirements of its tax exempt status under Internal

 Revenue Code section 501(c)(3).

         142.   From May 13, 2022, to June 30, 2022, Falwell Jr. did nothing to reimburse Liberty

 for these EBTs except to tender to Liberty $9,087 against a reported obligation of $1,188,750, plus

 interest.




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        143.    On June 27, 2022, counsel for Liberty again notified counsel for Falwell Jr.

 regarding Falwell Jr.’s chance once again to reimburse Liberty for a subset of these EBTs, a

 proposed compromise Liberty was willing to effect in view of the costs of litigation and debt

 collection.

        144.    In sum, Falwell Jr. breached the 2012 Employment Agreement and 2019

 Employment agreement, and the applicable Liberty policies and procedures, by classifying

 unauthorized personal expenses improperly as authorized Liberty business expenses, which

 resulted in the EBTs described above. Liberty seeks reimbursement of the $786,413.78, plus

 interest, that it paid for in excess of 120 EBTs received by Falwell Jr. for which he has not

 reimbursed Liberty.

        145.    For more detail on the EBTs that Falwell Jr. wrongfully incurred, Liberty

 incorporates its 2022 IRS Form 990 filing.

        146.    On information and belief, Liberty has been damaged in an amount in excess of

 $786,413.78, a number that it may have to revisit as discovery progresses.

                                  COUNT THREE: DETINUE

        147.    Liberty incorporates paragraphs 1 to 146 above, and also, in order to preserve issues

 on appeal, incorporates Count One of its Initial Complaint as considered by the Court’s Order of

 September 10, 2021

        148.    Liberty is the sole lawful owner of the property described above, including

 Documents and Confidential Information that Falwell created, received, or stored, at any point, on

 devices or systems provided by Liberty.




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        149.    For several reasons enumerated above, Liberty has an immediate right to possession

 of this property, including Documents and Confidential Information, because Falwell Jr.’s

 employment with Liberty terminated on August 25, 2020.

        150.    Liberty’s Documents and Confidential Information are easily identifiable because

 they are currently or were at one time located or stored on devices or systems provided by Liberty.

 Falwell Jr. also knows of their identity and location.

        151.    Liberty’s Documents and Confidential information are highly valuable to Liberty

 because they contain confidential and proprietary information related to a variety of deals,

 strategies, and negotiations impacting Liberty’s business. They are also necessary for Liberty to

 defend and prosecute various lawsuits, both pending and contemplated.

        152.    Liberty has asked for the return of its Documents and Confidential Information, but

 Falwell Jr. has failed to fully return all such property that remains in his possession and/or control.

                        COUNT FOUR: BREACH OF FIDUCIARY DUTY

        153.    Liberty incorporates paragraphs 1 to 152 above.

        154.    As Liberty’s President, Chancellor, and a member of its Board of Trustees, Falwell

 had a fiduciary duty to provide material information to the Board, refrain from acts harmful to the

 interests of Liberty, avoid conflicts of interest, and reject opportunities to benefit his personal

 interests to the detriment of Liberty.

        155.    Falwell Jr. refused to disclose to Liberty the Granda Allegations and Granda’s

 extortive threats while the Liberty President was negotiating for and entering into a 2019

 Employment Agreement that raised Falwell Jr.’s pay, created a retirement plan and enriched his

 severance. The sweetened severance provision and funded retirement plan advantaged Falwell Jr.

 if adverse conditions caused him to choose resignation knowing he was impaired by extortion



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 threats, and by therefore passing the financial risk to Liberty that Granda’s extortion would end

 Falwell Jr.’s employment with Liberty.

        156.       Falwell Jr. breached his fiduciary duties to Liberty by accepting a severance

 payment from Liberty in 2020 that Liberty was required to pay pursuant to the 2019 Employment

 Agreement.

        157.       Had Liberty’s Executive Committee known in 2018 or 2019 that Granda was

 attempting to extort Falwell Jr., and thus planning to damage Liberty, and had it known the full

 circumstances of Granda’s extortion of Falwell Jr., then the Executive Committee would have

 refrained from entering into the 2019 Employment Agreement.

        158.       On information and belief, Falwell Jr. procured Liberty’s outside counsel to advise

 him with respect to his personal causes of action, including those against Liberty, in derogation of

 Falwell’s duty.

        159.       Falwell Jr. failed to timely disclose and address the issue of his personal impairment

 by alcohol, which impairment led Falwell Jr. to actions and courses of conduct detrimental to the

 spiritual mission of Liberty.

        160.       The several actions of Falwell Jr. in breach of his fiduciary duty have induced injury

 to Liberty’s enrollment, impacted its donor base, disrupted its faculty, enabled the improper 2019

 Employment Agreement, and damaged Liberty’s reputation.

        161.       Falwell Jr.’s actions in breaching the fiduciary duty he owed to Liberty were willful

 and wanton and disregarded the rights of Liberty, thus exposing him to punitive damages.

        162.       For this count, Liberty seeks damages in excess of $10,000,000 plus pre- and post-

 judgment interest, and punitive damages at the statutory limit of $350,000.

         COUNT FIVE: STATUTORY CONSPIRACY / COMMON LAW CONSPIRACY




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        163.    Liberty incorporates paragraphs 1 to 162 above.

        164.    Virginia Code. § 8.01-499, 500 prohibits two or more persons from agreeing to

 injure another in their trade or business.

        165.    The business of Liberty is the provision of higher education through the perspective

 of Christian values. High moral standards are a part of the educational experience at Liberty and

 administrators and faculty are expected to comport themselves in a way that promotes the Liberty

 Way, and upholds the values in Liberty’s foundational documents. Additionally, officers and

 Board members like Falwell, Jr. must observe applicable fiduciary duties.

        166.    Up to August 2020, Falwell Jr., Becki and Granda, and potentially others, acted in

 concert under a preconceived plan to conceal the Granda Allegations and Granda’s extortive acts

 from disclosure to Liberty’s Board of Trustees.

        167.    Falwell Jr., Becki and Granda, and potentially others acted intentionally,

 purposefully and without lawful justification, and thus with legal malice.

        168.    Falwell Jr, as leader of the Falwell/Granda conspiracy, had a fiduciary duty to

 disclose Granda’s extortive actions, and to disclose the potential for serious harm to Liberty once

 the Granda Allegations were in fact disclosed to the Liberty’s Executive Committee.

        169.    Instead of disclosure, Falwell Jr. furthered the conspiracy of silence and negotiated

 a 2019 Employment Agreement that contained a higher salary from Liberty. Moreover,

 anticipating revival of Granda’s threats, Falwell Jr. also negotiated a revised severance provision

 that doubled the separation benefits provided in the 2012 Employment Agreement and a funded

 retirement plan.

        170.    Had Liberty’s Executive Committee known in 2018 and 2019 that Granda was

 attempting to extort Falwell Jr., and thus planning to damage Liberty, and had it known the full




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 circumstances of Granda’s extortion of Falwell, then the Executive Committee would have

 refrained from entering into the 2019 Employment Agreement.

           171.    The actions of Falwell Jr. and Granda have injured Liberty’s enrollment, impacted

 its donor base, disrupted its faculty, enabled the 2019 Employment Agreement that proved

 detrimental to Liberty’s interests, and damaged Liberty’s reputation.

           172.    By operation of Va. Code 18.2 §500(A), Liberty’s damages must be trebled. That

 section also provides for Liberty recover reasonable attorneys’ fees. See Va. Code 18.2 §500 (A)

 and (B).

           173.    Falwell Jr.’s actions were willful and wanton and disregarded the rights of Liberty,

 thus exposing him to punitive damages.

           174.    In the alternative, Falwell Jr., Becki, Granda, and potentially others, acted in

 concert under a preconceived plan to unlawfully conceal the Granda Allegations and Granda’s

 extortive acts from disclosure to Liberty’s Board of Trustees in violation of Falwell Jr.’s fiduciary

 duties.

           175.    The conspiracy between Falwell Jr., Becki, and Granda injured Liberty’s

 enrollment, impacted its donor base, disrupted its faculty, enabled the 2019 Employment

 Agreement that proved detrimental to Liberty’s interests, and damaged Liberty’s reputation.

           176.    Liberty seeks $10,000,000 in compensatory damages, trebled as provided by

 statute, and the statutory limit of $350,000 in punitive damages plus any other damages provable

 at trial. Liberty additionally seeks pre-judgment and post-judgment interest and attorneys’ fees.

                  COUNT SIX: UNJUST ENRICHMENT (IN THE ALTERNATIVE)

           177.    Liberty incorporates paragraphs 1 to 176 above.

           178.    As detailed above, Liberty has conferred numerous benefits on Falwell Jr.




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         179.   Falwell Jr. has not reimbursed or paid Liberty for these benefits.

         180.   If Falwell Jr. is not required to reimburse Liberty, Falwell Jr. will be unjustly

 enriched in an amount in excess of $11,000,000, plus interest.

         181.   In the alternative, Liberty seeks damages for unjust enrichment in an amount in

 excess of $11,000,000.


                                      PRAYER FOR RELIEF

         WHEREFORE, for the reasons stated above, Defendant Liberty requests this Court to:

                a.      Award Liberty the damages identified above;

                b.      Award Liberty punitive damages;

                c.      Award Liberty its statutory attorneys’ fees;

                d.      Award Liberty its pre-judgment and post-judgment interest;

                e.      Enjoin Falwell from retaining possession of property belong to Liberty; and

                f.      Provide any other relief this Court deems appropriate.

  Liberty demands trial by jury of its claim.




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 Business partner of Falwells says he had affair with
 the power couple




 ‘IDEAL TARGET’: Giancarlo Granda, who says he had a years-long sexual relationship with the Falwells that began when he was 20,
 said he now believes the Falwells preyed upon him. “Whether it was immaturity, naïveté, instability, or a combination thereof, it was
 this ‘mindset’ that the Falwells likely detected in deciding that I was the ideal target for their sexual escapades,” he said.
 REUTERS/Jonathan Ernst


 Giancarlo Granda says his sexual relationship with the Falwells began when he was 20.
 He says he had sex with Becki Falwell while Jerry Falwell Jr, head of Liberty University
 and a staunch supporter of President Trump, looked on.


 By ARAM ROSTON



 WASHINGTON – In a claim likely to intensify the controversy surrounding one of the most
 influential figures in the American Christian conservative movement, a business partner of
 Jerry Falwell Jr has come forward to say he had a years-long sexual relationship involving
 Falwell’s wife and the evangelical leader.

 Giancarlo Granda says he was 20 when he met Jerry and Becki Falwell while working as a
 pool attendant at the Fontainebleau Miami Beach hotel in March 2012. Starting that month
 and continuing into 2018, Granda told Reuters that the relationship involved him having sex
 with Becki Falwell while Jerry Falwell looked on.




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 Granda showed Reuters emails, text messages and other evidence that he says
 demonstrate the sexual nature of his relationship with the couple, who have been married
 since 1987. “Becki and I developed an intimate relationship and Jerry enjoyed watching
 from the corner of the room,” Granda said in an interview. Now 29, he described the liaisons
 as frequent – “multiple times per year” – and said the encounters took place at hotels in
 Miami and New York, and at the Falwells’ home in Virginia.

 His friendship with the Falwells eventually soured, Granda told Reuters, in part because he
 wanted to dissolve his ties with the couple and fell into a business dispute with them.




 STAUNCH SUPPORTER: Jerry Falwell Jr’s decision to endorse Donald Trump for the
 presidency in 2016 helped swing evangelical Christians toward Trump. REUTERS/Scott Morgan

 Granda first emerged as a figure in the Falwells’ circle two years ago, when BuzzFeed
 News reported that the couple had befriended Granda and gone into business with him,
 buying a Miami Beach youth hostel in 2013. At the time of the BuzzFeed article, a
 representative of the Falwell family said Granda was “offered a share” in Alton Hostel LLC
 because Granda lived in Miami and would act as a manager of the youth hostel. Corporate
 records show that Granda currently has a stake in that venture.




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 Becki Falwell did not respond to emails or phone and text messages from Reuters. After
 Reuters presented its initial reporting early last week to the Falwells, a lawyer for Jerry
 Falwell, Michael Bowe, said the evangelical leader “categorically denies everything you
 indicated you intend to publish about him.”

 On Sunday night, however, as Reuters was preparing to publish this article, Jerry Falwell
 issued a statement to the Washington Examiner in which he said that his wife had had an
 affair with Granda and that Granda had been trying to extort money from the couple over
 the matter. Granda denies any such intent, saying he was seeking to negotiate a buyout
 from a business arrangement he says he had with the couple.

 In this recording from a 2018 phone call that Giancarlo Granda provided to Reuters, Granda
 said he and the Falwells discussed Becki Falwell’s jealousy about Granda dating other
 women.




 Falwell’s statement Sunday to the Examiner said nothing about Granda’s account alleging
 that the evangelical leader had his own role in the affair, and Falwell didn’t address
 questions from Reuters about it. In the statement quoted by the Examiner, Falwell said that
 “Becki had an inappropriate personal relationship with this person, something in which I was
 not involved.”




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 Several hours after the Reuters article appeared, the Washington Post and other U.S.
 media reported that Falwell had stepped down as head of Liberty University, the Christian
 school he has run since 2007. But later Monday, Falwell disputed those accounts. “I have
 not resigned,” he told Politico. “I will be on indefinite leave.”

 Liberty and Falwell did not respond to Reuters requests for comment on his status.

 Falwell, 58, had taken an indefinite leave of absence earlier this month from Liberty. That
 step, announced in a terse statement from the school’s board of trustees, came days after
 Falwell posted, then deleted, an Instagram photo of himself with his pants unzipped,
 standing with his arm around a young woman whose pants were also partly undone. Falwell
 later told a local radio station that the picture was meant as a good-natured joke.

 If Falwell does step down, his departure from that high-profile perch would represent a
 remarkable fall from grace for a man who has been a potent force in American conservative
 politics. His surprise 2016 endorsement of Donald Trump helped the twice-divorced New
 Yorker win the Republican nomination for president.

 Becki Falwell, 53, is a political figure in her own right. She served on the advisory board of
 the group Women for Trump, which advocates for the president’s reelection campaign. She
 also spoke as part of a panel with her husband and Donald Trump Jr at last year’s
 Conservative Political Action Conference, or CPAC, the signature annual gathering of
 conservatives. Jerry Falwell and others refer to her as “the first lady of Liberty University.”

 The university, based in Lynchburg, Virginia, was founded in 1971 by Falwell’s televangelist
 father, the Rev. Jerry Falwell. The younger Falwell took over in 2007. Today, the university
 boasts an online and on-campus enrollment that exceeds 100,000 students and holds those
 who attend to an exacting honor code. “Sexual relations outside of a biblically ordained
 marriage between a natural-born man and a natural-born woman are not permissible at
 Liberty University,” the code reads.

 The material Granda showed Reuters includes screenshots from what Granda said was a
 FaceTime conversation he had with the Falwells in 2019. During that call, Granda said,
 Becki was naked as the two discussed their relationship while Jerry peeked from behind a
 door. Reuters was able to verify Granda’s description of the screenshots.

 Granda also shared an audio recording that he says captures a conversation he had with
 the Falwells in 2018. In it, Becki complained about Granda describing his relationships with
 other people: “He’s like telling me every time he hooks up with people. Like I don’t have




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 feelings or something.” Jerry then chimed in: “You’re going to make her jealous.” “I’m not
 trying to do that,” Granda replied.

 Earlier texts show a friendly and romantic dynamic between Granda and Becki Falwell. One
 2012 text message, which Granda said came from Becki, read in part: “Right now I am just
 missing you like crazy .... Have you had this effect on all of your lady friends?”

 Other more recent text messages, such as an exchange from this June that Granda
 provided to Reuters, show Granda growing angry and frustrated as his relationship with the
 Falwells frayed.

 “Since you’re okay with ruining my life, I am going to take the kamikaze route,” Granda
 wrote to Jerry Falwell. “It really is a shame because I wanted to reach a peaceful resolution
 and just move on with our lives but if conflict is what you want, then so be it.”

 In the same message string, Falwell replied: “You should by now understand that I will not
 be extorted. I have always treated you fairly and been restrained in response to your threats
 because I did not wish to ruin your life. Going forward, stop contacting me and my family.”

 Granda said that while he entered into the sexual relationship with the Falwells willingly,
 today he feels the couple preyed upon him. “Whether it was immaturity, naïveté, instability,
 or a combination thereof, it was this ‘mindset’ that the Falwells likely detected in deciding
 that I was the ideal target for their sexual escapades,” Granda said.

 In a statement released Friday, before news of the relationship with Granda became public,
 Liberty University said its “decision whether or not to retain Falwell as president has not yet
 been made.” Its board of trustees, the statement read, “requested prayer and patience as
 they seek the Lord’s will and also seek additional information for assessment.”

 Editor’s note: This story was updated after publication to reflect conflicting news reports that
 Jerry Falwell Jr had stepped down from Liberty University.




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 POWER COUPLE: Liberty University President Jerry Falwell Jr and his wife, Becki Falwell,
 join U.S. Vice President Mike Pence and his wife, Karen Pence, in a prayer after the 2019
  commencement ceremonies at Liberty. REUTERS/Jonathan Drake

 The Falwell Affair

 By Aram Roston

 Photo editing: Stelios Varias

 Video: Megan Revell

 Design: Pete Hausler

 Edited by Blake Morrison




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 WASHINGTON SECRETS

 Exclusive: Falwell says Fatal
 Attraction threat led to depression
 by Paul Bedard, Washington Secrets Columnist |
 August 23, 2020 09:32 PM

 But, they claimed, her former lover has threatened them over the past several
 years and that they are done with it hanging over their heads.

 “I’m just tired of it,” said Falwell of the anxiety he’s felt about the affair
 becoming public and embarrassing his family and Liberty. “It’s just got to
 end,” he added.

 The 1,200-word statement, shown below, followed the Liberty board’s
 decision to put Falwell on paid leave after he posted a “costume party”
 picture of him on a yacht with his pants partially unzipped and his arm
 around his wife's assistant.

 His social media presence has raised eyebrows in the Liberty community,
 though he is often praised for his success at building up the school and
 keeping the coronavirus at bay from the university. He has also drawn fire for
 his strong support of President Trump.

 The board’s statement about Falwell on Friday referred to “various rumors
 and claims,” which may be related to indications that a news service planned
 to air new claims from the man whom Becki Falwell had the affair with, a
 pool attendant the Falwells met and befriended in 2012 while staying at the
 Fontainebleau Miami Beach.

 The statement did not name the attendant, but he has been identified as
 Giancarlo Granda in dozens of news stories.

 In the statement and phone call with Secrets, Falwell appeared to be relieved
 to have finally divulged the affair and yearslong series of attacks the couple
 has faced.

 “It was like living on a roller coaster,” he said in the statement. “While
 completely dedicating ourselves to Liberty, we were also suffering in silence
 during our personal time together, while simultaneously trying to manage
 and deal with this increasingly threatening behavior, which only worsened




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 over time. We were doing our best to respectfully unravel this ‘fatal attraction’
 type situation to protect our family and the university.”

 He said that while they tried to remain friendly with the man and his family,
 the threats and texts demanding huge amounts of money led them to cut
 him off.

 “While we tried to distance ourselves from him over time, he unfortunately
 became increasingly angry and aggressive. Eventually, he began threatening
 to publicly reveal this secret relationship with Becki and to deliberately
 embarrass my wife, family, and Liberty University unless we agreed to pay
 him substantial monies,” the couple said.

 In 2012, the Falwells said they were impressed with the pool assistant and
 wanted to help him start in business. Falwell's wife worked a deal to buy a
 Miami hostel and put him in charge. The deal has been tangled in legal
 challenges.

 It was while Jerry Falwell was working long hours to build up the university,
 which he took over after his father Jerry Falwell Sr. died in 2007, that Becki
 had the affair.

 At the time, Falwell was working overtime to build Liberty into an online
 powerhouse and expand its modern campus.

 Granda, who was 21 at the time, dismissed the charges of threats in an email
 to Secrets. He emailed, “Any allegation of extortion is falsely, defamatory and
 belied by clear documentary evidence. The Falwell’s attempt to sandbag me,
 and the Examiner, with a last minute story without providing
 the Examiner clear evidence that this was not simply an ‘affair’ with
 concocted allegations of extortion reeks desperation. The WHOLE truth will
 come out.”

 Falwell’s team provided emails and texts that it said substantiate its
 allegations.

 After Falwell found out about the affair, he said in the statement, he lost 80
 pounds and suffered mental stress, especially as Granda switched from being
 thankful for Falwell’s help to demanding money.

 “Becki and I forgave each other, because while her indiscretion may have
 been more obvious and apparent, I realized that there were important
 smaller things I needed to do better too,” he said.




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 Falwell said that now that his family has revealed its troubles, he plans to
 urge others in stressful situations to seek mental help.

 “Even though I continued successfully working with our entire Liberty team
 to achieve so many of our goals, I am now dealing with things in a way that I
 should have done before — including seeking to address the emotional toll
 this has taken. I shouldn’t have been afraid to admit my vulnerabilities and to
 reach out for assistance from the mental health professionals who could have
 alleviated this pain and stress. I am committed to speaking out and sharing
 with others at Liberty the importance of seeking counseling instead of
 thinking you need to be tough and try to bear these burdens on your own. I
 am in the early stages of addressing these issues,” he wrote.

 And, he added, “The trauma of this experience has brought us to a very
 challenging point in our lives, but we are strong, our faith in Christ is greater
 than ever, and with His help and with those in the community who we love
 and who appreciate the impact of forgiveness, we will get through this. We
 ask for your prayers and support.”


 STATEMENT BY JERRY FALWELL, JR.

 Aug. 23, 2020

 My family has been blessed with the opportunity to serve Christ and our
 community over the past 50 years — from when my father founded Liberty
 in the early 1970’s through today. When my father suddenly passed away in
 2007, I quickly and unexpectedly went from being the lawyer working in the
 background on the business aspects of the school to becoming a very public
 person, having to overcome my fears of speaking in front of audiences of
 tens of thousands, with many more responsibilities to the Liberty community
 and to my own family.

 My priority was to build on my father’s vision and to work hard. Thanks to the
 help of the Board and the extraordinary Liberty faculty, executives, staff and
 community, we have ensured the University’s sustained growth and
 financial health while providing the best and most modern on-campus and
 online educational and spiritual resources to a wider range of students both
 in person and through digital platforms.

 My commitment to Liberty became and has remained my primary focus —
  and while I am so grateful and thankful for our collective successes, I also
 realize in hindsight that there was a toll that this took on me, which
 extended to my family too. During this time of reflection for us and this




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 especially challenging year, and even more so following the events of the
 past few weeks, my wife Becki and I agreed that this was the right time for
 me to share more of our story, because the Liberty community deserves to
 hear it directly from me and from us.

 During a vacation over eight years ago, Becki and I met an ambitious young
 man who was working at our hotel and was saving up his money to go to
 school. We encouraged him to pursue an education and a career and we
 were impressed by his initiative in suggesting a local real estate opportunity.
 My family members eventually made an investment in a local property,
 included him in the deal because he could play an active role in managing
 it, and became close with him and his family.

 Shortly thereafter, Becki had an inappropriate personal relationship with this
 person, something in which I was not involved — it was nonetheless very
 upsetting to learn about. After I learned this, I lost 80 pounds and people
 who saw me regularly thought that I was physically unwell, when in reality I
 was just balancing how to be most supportive of Becki, who I love, while also
 reflecting and praying about whether there were ways I could have been
 more supportive of her and given her proper attention. I came to realize that
 while it may be easy to judge others on their behavior, the King James Bible
 reminds us — “Thou shalt not commit adultery, but I sayeth unto you, that
 whoever looketh upon a woman to lust after her hath committed adultery
 with her in his heart.” In fact, there are ways we may all be sinning, but the
 Lord believes in this self-reflection.

 I was and have always remained fully devoted to Becki and we have shared
 many private conversations to better understand and support each other
 and to strengthen our marriage. Thankfully, our love has never been
 stronger. Becki and I forgave each other, because while her indiscretion may
 have been more obvious and apparent, I realized that there were important
 smaller things I needed to do better too.

 In Ephesians 4:32 we learn — “Be kind to one another, tender hearted,
 forgiving as God in Christ forgave you.”

 We extended the spirit of forgiveness to this man with respect and kindness,
 both for spiritual and religious reasons, and in the hope that we could help
 him find his way and allow us to put this behind us, without any harm or
 embarrassment to our family or to the LU community to which we have
 dedicated our lives.

 During the years that followed, we got to know his family and other loved
 ones, good people who also really care about him. They shared and




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 confirmed to us that he has periodically demonstrated emotionally unstable
 behaviors with some destructive tendencies, seemingly in response to his
 inability to achieve his professional goals. Based on information from other
 sources, we believe that he may have targeted other successful women in
 similar ways.

 While we tried to distance ourselves from him over time, he unfortunately
 became increasingly angry and aggressive. Eventually, he began
 threatening to publicly reveal this secret relationship with Becki and to
 deliberately embarrass my wife, family, and Liberty University unless we
 agreed to pay him substantial monies. While this was very upsetting, we had
 been advised by trusted legal counsel that it was best to maintain contact
 with this person, as we tried to manage his increasingly erratic behavior and
 unreasonable demands while extricating ourselves from him both on a
 personal level and from that real estate transaction.

 It was like living on a roller coaster.

 While completely dedicating ourselves to Liberty, we were also suffering in
 silence during our personal time together, while simultaneously trying to
 manage and deal with this increasingly threatening behavior, which only
 worsened over time. We were doing our best to respectfully unravel this ‘fatal
 attraction’ type situation to protect our family and the University.

 Even years after the improper relationship had ended, this person continued
 to be aggressive with Becki and me in a variety of ways. We finally decided
 that we had to further withdraw completely from him, which resulted in him
 stepping up his threats to share more outrageous and fabricate claims
 about us (under the guise of that business entity). He clearly moved forward
 with this plan through a specific member of the media who has continued to
 badger us, as well as other members of the media, regarding the false
 claims about the nature of the relationship based on the individual’s
 misrepresentations. Over the course of the last few months this person's
 behavior has reached a level that we have decided the only way to stop this
 predatory behavior is to go public.

 We have categorically rejected this person’s demands while dealing with
 him and this particular member of the media who seemed just as obsessed
 with the prurient, untrue aspects of this story, however fantastic.

 Even though I continued successfully working with our entire Liberty team to
 achieve so many of our goals, I am now dealing with things in a way that I
 should have done before — including seeking to address the emotional toll
 this has taken. I shouldn’t have been afraid to admit my vulnerabilities and




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 to reach out for assistance from the mental health professionals who could
 have alleviated this pain and stress. I am committed to speaking out and
 sharing with others at Liberty the importance of seeking counseling instead
 of thinking you need to be tough and try to bear these burdens on your own.
 I am in the early stages of addressing these issues.

 Proverbs 3:5-6 says “trust in the Lord with all your heart and lean not on thine
 own understanding in all your ways acknowledge him and he will guide
 straight thy path.”

 The trauma of this experience has brought us to a very challenging point in
 our lives, but we are strong, our faith in Christ is greater than ever, and with
 His help and with those in the community who we love and who appreciate
 the impact of forgiveness, we will get through this. We ask for your prayers
 and support.




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                                                                              A Page Vault
Document title:                  ‘She was the aggressor’: Former Liberty student alleges sexual encounter with Becki
                                 Falwell - POLITICO

Capture URL:                     https://www.politico.com/news/2020/08/27/becki-falwell-affair-liberty-university-
                                 student-band-jerry-402559

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                                  ‘She was the aggressor’: Former Liberty student
                                               alleges sexual encounter with Becki Falwell
                                      A former student at the evangelical university opens up about a 2008 incident with the wife of the school’s president.




                   By   BRANDON    AMBROSINO                                    former Liberty University student says Becki Falwell, the wife of the                              Advertisement
                   08/27/2020     06:26   PM   EDT
                                                                                university’s then-President Jerry Falwell Jr., jumped into bed with
                                   Qe                                           him and performed oral sex on him while he stayed over at the Falwell
                   Brandon Ambrosino is a writer living in             home after a band practice with her eldest son in 2008.
                                                                                                                                                                            INNOVATING AT
                   Delaware. His articles have appeared in                                                                                                                 HYPERSONIC SPEED.
                   the New   York Times, Boston Globe and              The student was 22 at the time of the encounter, near the start of Liberty’s fall
                   the BBC, among other outlets.                       semester. He said she initiated the act, and he went along with it. But despite
                   AP                                                  his rejection of further advances, he said, Falwell continued pursuing him,
                                                                       offering him gifts and engaging in banter through Facebook messages.

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                                                    “She was the aggressor,” he said.


                                                    The messages, screenshots of which were provided by the former student to
                                                    POLITICO, suggest a flirtatious relationship that went beyond what might be
                                                    expected of a mother communicating with her son’s bandmate.


                                                    One referenced a mutual friend who “said that she wants you to cut [your]
                                                    bangs when you get your hair cut. I think that you are beautiful just like you
                                                    are,” Becki Falwell wrote in a message sent in September 2008. “You don't
                                                    want to cover up those killer eyes of yours and you know the bandana drives
                                                    me wild ... ©”


                                                    In another, sent in December 2008, after the student says he made clear he did
                                                    not want any romantic involvement with Falwell, she wrote: “Maybe time will
                                                    heal whatever wounds that I have caused and your Christian heart will allow
                                                                    .                                                                                                   Advertisement
                                                    you to forgive me.”




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                                                                     said that she wants you to cut
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                                                              don't want to cover up those killer eyes of
                                                              yours and you know the bandana drives me
                                                              wild ...
                                                                                                                                                                                        e
                                                              oh well, do whatever YOU want to do. now
                                                              you have my two cents




                                                              | haven't sent you a song in a while.
                                                              Hope that you like this one. You have
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                                                              really think that you will like it.
                                                               ~becki

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                                                    “[Redacted] said that she wants you to cut [your] bangs when you get your hair cut. [I] think that you are
                                                    beautiful just like you are,” Becki Falwell wrote in a Facebook direct message to a then-Liberty University
                                                    student in Sept. 2008. “[Y]ou don't want to cover up those killer eyes of yours and you know the bandana
                                                    drives me wild ... @” | Obtained by Brandon Ambrosino/POLITICO


                                                    In a statement, Jerry and Becki Falwell said of the former student’s allegations,
                                                    “Tt is unfortunate that the coverage of our departure has turned into a frenzy of
                                                    false and fantastic claims about us. These false and mean spirited lies have hurt
                                                    us and our family greatly and we will respond fully with the truth at an
                                                    appropriate time. At this time, however, we think it is best to move on and help
                                                    the Liberty community focus on its very bright future...”


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                                                    Another member of the former student’s band, who spoke to POLITICO on the
                                                    condition of anonymity, said the student told him of the oral-sex encounter
                                                    with Becki Falwell within a month of it occurring. Two former Liberty
                                                    University employees, also speaking under a condition of anonymity, recalled
                                                    that the band members practiced at the Falwell Farm in 2008, but did not
                                                    know of the alleged encounter between Falwell and the former student.


                                                    The allegation by the former student casts light on the behavior of Jerry and
                                                    Becki Falwell, who have been under intense scrutiny for inappropriate
                                                    relationships and misuse of their positions at the university. On Sunday, Jerry
                                                    Falwell Jr. acknowledged that Becki had had an affair with Giancarlo Granda, a
                                                    pool attendant at the Fountainbleau Hotel in Miami Beach with whom they               O MOST READ

                                                    entered a real estate deal. Granda told POLITICO and other outlets that the
                                                    affair began when he was 20 and continued for seven more years, during which
                                                    time her husband sometimes watched him and Becki have sex.

                                                    Earlier this summer, the couple was vacationing with friends and family aboard
                                                    a yacht owned by a Liberty University supporter when Jerry posted and quickly
                                                    deleted a photo of himself with his pants unzipped and arm around Becki’s
                                                    assistant. POLITICO has also reported that Liberty has given a contract toa
                                                                                                                                          1    California to halt $54M
                                                    company owned by the Falwells’ son and sold property to friends and family                 Walgreens contract over
                                                                                                                                               company’s policy on abortion
                                                    without always making proper tax disclosures.                                              drug sales


                                                    Jerry Falwell Jr. resigned as Liberty president on Tuesday, in exchange for a         2.   Trump 2020 lawyer admits
                                                                                                                                               misrepresenting stolen election
                                                    severance package worth $10.5 million, two days after his acknowledgment of                claims
                                                    Becki’s affair with Granda.
                                                                                                                                          3    White House goes after Tucker
                                                                                                                                               Carlson by name over Jan. 6
                                                    Granda, however, was not a student. At Liberty University, students aren’t                 coverage

                                                    allowed to have sex outside of marriage. Those who violate the rule risk
                                                                                                                                          4    DOJ takes on the Jan. 6 Tucker
                                                    punishment, up to and including expulsion, according to “The Liberty Way,”
                                                                                                                                               Carlson tapes
                                                    the school’s honor code for students. The university, like many Christian
                                                    institutions, regards premarital sex as sinful, a corruption of a Christian’s         5    Opinion | The Tucker Carlson
                                                                                                                                               Schtick Melts Away
                                                    bodily “temple.”


                                                    In a statement provided to POLITICO by Liberty University senior vice
                                                    president Scott Lamb, the school reiterated that it has “policies against
                                                    employees having sexual relationships with students, as well as having other
                                                    inappropriate relationships outside of marriage, whether consensual or not.
                                                    Becki Falwell was an employee in 2008 and such policies would have fully
                                                    applied to her as spouse of the then-university Chancellor and President.
                                                    Liberty University has checked its Human Resources and Title IX records and
                                                    finds no complaints were ever lodged against Becki Falwell for any
                                                    inappropriate relationship nor were any investigations of such matters
                                                    conducted. This is a fresh allegation, as far as we can tell.”

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                                                    POLITICO first contacted the former student in 2019, after hearing of his
                                                    alleged sexnal encounter with Falwell fram farmer classmates           He confirmed




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                                                    POLITICO first contacted the former student in 2019, after hearing of his
                                                    alleged sexual encounter with Falwell from former classmates. He confirmed
                                                    the encounter but didn’t want to go public with it until recent weeks, when the
                                                    Falwells’ behavior came under scrutiny. POLITICO granted the former student
                                                    anonymity to describe what he considered inappropriate advances from a
                                                    woman who was herself a university employee and wife of the university
                                                    president.


                                                    He said he did not feel comfortable discussing the encounter earlier because he
                                                    suffered from feelings of guilt and depression, feared exposure, and didn’t want
                                                                                                                                                          Advertisement
                                                    to cause harm to the Falwell family.


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                                                                            channel that momentum into policy changes.



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                                                    He said he grew up in a North Carolina home where the Falwell name loomed
                                                    large. His mother admired Liberty’s founder, the Rev. Jerry Falwell Sr., and
                                                    was a true believer in the conservative Christian values that Liberty developed
                                                    a reputation for cultivating in young people. For the then-student, the incident
                                                    with Becki Falwell incited a long struggle with both his faith and mental health.
                                                    He said he did not tell family members of the cause of his distress, and only
                                                    confided in a few close friends.


                                                    “It made [him] feel bad. It was a depressing thing; he struggled with depression
                                                                                                                                                    LOCKHEED    MARTIN zi
                                                    [afterwards],” the former bandmate told POLITICO.


                                                    “T don’t want to be a homewrecker,” the former student said. “That took a toll
                                                    on the soul.”


                                                    The former student, who is now 34, said he had not heard from Becki Falwell in
                                                    more than eight years until this week, during which her relationship with
                                                    Granda came to light. He said she texted him to say hello, and commiserate
                                                    over the controversy that an engulfed her family. “This is a nightmare. It just
                                                    keeps getting worse,” Falwell texted him on Monday night, shortly before Jerry
                                                    Falwell Jr. officially resigned as president.

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                                                    The former student said he responded the following day by texting that he was
                                                    praying for her.




                                                    It was early in the summer of 2008 when a member of his rock band
                                                    suggested a new guitarist who, he said, knew every Led Zeppelin song and
                                                    could play like Jimmy Page. He was younger than them by a few years — they
                                                    were in their early 20s, and he was fresh out of high school. But there was
                                                    another reason for hesitation: His name was Trey Falwell. He was the eldest
                                                    son of Jerry and Becki Falwell.




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                                                    could play like Jimmy Page. He was younger than them by a tew years — they
                                                    were in their early 20s, and he was fresh out of high school. But there was
                                                    another reason for hesitation: His name was Trey Falwell. He was the eldest
                                                    son of Jerry and Becki Falwell.


                                                    “Tf we get this kid in the band, we’re gonna have Falwell’s name attached to it,”
                                                    the former student remembered thinking.


                                                    Still, Trey Falwell could play. And his parents were supportive of the band,
                                                    even offering to let the guys practice in an abandoned church next to their
                                                    home, which is sometimes referred to as Falwell Farm, in Goode, Virginia.


                                                    “They had this old church on their lot, and said, ‘If you guys go in and fix it up,
                                                    you can play there whenever you want,” the former student said. “So we went
                                                    in and put egg crates and lighting everywhere. The lighting was with the help of
                                                    the Falwells. From the very get-go, they wanted to come across as very warm
                                                    and compassionate.” The band christened the space the “House of the Holy,” a
                                                    nod to a 1973 album by Led Zeppelin.


                                                    Members of the band recall Becki Falwell’s habit of showing up to their
                                                    rehearsals. At first, the guys didn’t think much of it — she was friendly and
                                                    hospitable, and always offered them food and snacks. “It wasn’t just a one-time
                                                    thing,” the former student said. “It was, ‘Oh hey, guys, I brought you some
                                                    lemonade.’ And then she’d always stick around.”


                                                    “She was like, ‘Hey, I know I’m a mom, but I wanna be friends with everyone,”
                                                    recalled the former bandmate. Eventually, it got awkward, he recalls: “It was,
                                                    like, a ‘Dude, why is somebody’s Mom chilling with us?’ type thing.”


                                                    Pretty soon, his bandmates thought they might have an answer.


                                                    “T could tell she was giving me looks, but [I] wanted to downplay it,” the former
                                                    student said. “I would think, ‘Am I reading too much into this?’ She would
                                                    speak almost ... she’d always give little innuendos. Almost like she was
                                                    speaking in code.”

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                                                    Still, he figured, he was imagining things. “I’m just seeing this wrong,” he
                                                    recalled thinking.


                                                    Shortly before classes resumed for Liberty’s fall 2008 semester, the then-
                                                    student and a few friends were clearing boxes out of the rehearsal space on the
                                                    Falwells’ property. Becki met them in the driveway.


                                                    “We were all hot and sweaty. She goes, ‘Hey, can you help me with something?’
                                                    I said, ‘Sure, heck yeah, I can help you!’ I figure she needed some heavy lifting.
                                                    Tll never forget, she corners me and goes, ‘Have you told your friends?’ I say,
                                                    ‘Excuse me?’ She goes, ‘Have you told your friends that I think you’re hot?” the
                                                    former student recalled. “She’s standing there with her eyes locked on me,
                                                    waiting to see what I'd say. I probably laughed it off, like, ‘Haha. No, I haven’t
                                                    told them that one.”

                                                    Still, they showed up because they had gigs to practice for, including one in
                                                    September at the Campus Artist Series, a showcase of bands comprised of
                                                    Liberty students and held at the university’s newly opened Tilley Center, which
                                                    is named after Becki’s father, Tom Tilley, who partially financed the
                                                    construction of the building.




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                                                    September at the Campus Artist Series, a showcase of bands comprised of
                                                    Liberty students and held at the university’s newly opened Tilley Center, which
                                                    is named after Becki’s father, Tom Tilley, who partially financed the
                                                    construction of the building.


                                                    Often, the band would practice into the evening. Some nights, it would just be
                                                    the then-student and Trey jamming together. “I was working weird hours at a
                                                    restaurant, so I wasn’t around when Trey and [the then-student] would chill,”
                                                    the former bandmate told POLITICO. Trey Falwell and the former student
                                                    would stay up drinking whiskey and picking out tunes on their guitars until the
                                                    early morning. If it was really late, or if he’d had too much to drink, the then-
                                                    student would spend the night, crashing on the bed from a fold-out couch in
                                                    the guest room next to Trey’s bedroom.


                                                    “One night [in August or September], we were up till one or two, and we went
                                                    back to his room. We had a decent amount of Jack Daniels,” the former student
                                                    said. He remembered walking into the guest room, just as he’d done many
                                                    times, closing the door behind him, and preparing the bed.


                                                    “T’m laying in the bed and I hear, like, giggling to the side of me on the floor.
                                                    And, pardon my French, but I was like, ‘What the fuck is that?’ I look over and
                                                    it’s Becki,” he said. “Just, you know, in my room. I’m like, ‘You can’t be in here.
                                                    This can’t happen.”

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                                                    He was a 22-year-old student at Liberty. She was the wife of the president of
                                                    the school. The Falwells were, effectively, the First Family of conservative
                                                    evangelicalism in America.

                                                    After some prodding, he coaxed Falwell into leaving. He slept, woke up and
                                                    acted like things were normal.


                                                    A few nights later, he stayed the night again. Again, Falwell came into the
                                                    guestroom where the then-student was in bed.


                                                    This time, she was more aggressive. The former student remembers that
                                                    Falwell climbed into bed with him, and quickly took down his pants.


                                                    “T was like, ‘uh, what are you doing?” the former student said. Falwell then
                                                    proceeded to give him oral sex.


                                                    Over the last year, the former student has recounted this story several times in
                                                    interviews with POLITICO. He maintained that while some of the details from
                                                    the 12-year-old encounter are fuzzy, there are others that are clear. He
                                                    remembers lying on the “right side of the cot.” He remembers thinking the
                                                    room “looked like an Embassy Suites.” He remembers that Jerry Jr. was away
                                                    that weekend, and that Wesley, the Falwells’ second son, wasn’t there.


                                                    Also clear is the fallout. The encounter, the former student said, “really put a
                                                    hurt on [me] because I trusted her as a friend.”


                                                    In the case of this then-student, these feelings were compounded by Becki
                                                    Falwell’s position at Liberty University, and in Evangelical Christianity more
                                                    broadly. He was concerned that word would get out, and that he would in some
                                                    way be responsible for any injury that would besmear the legacy of Jerry
                                                    Falwell Sr., who had died a year earlier.




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                                                    broadly. He was concerned that word would get out, and that he would in some
                                                    way be responsible for any injury that would besmear the legacy of Jerry
                                                    Falwell Sr., who had died a year earlier.


                                                    So he kept the sexual encounter secret, save for a few close friends. He said he
                                                    did not tell Trey Falwell what his mother had done. But the encounter had
                                                    changed the dynamic between them.


                                                    “We started to slowly push Trey out of the band,” the former student said.
                                                    “From that point forward, it was a weird dynamic. We weren’t as inviting.”


                                                    Trey wanted to stay in the band long enough to play an important show with
                                                    them — a Christmas show Liberty holds every December — and the band
                                                    agreed. The concert went poorly, the former student said, recalling that their
                                                    transition from “Carol of the Bells” into a Led Zeppelin song was booed by the
                                                    audience. The response rattled Trey. Whereas the other members of the band
                                                    had played gigs at bars with hostile crowds, Trey lacked that experience. It
                                                    would be the last time the group performed together.


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                                                    But all through that fall, as the band was slowly separating, the former student
                                                    said he continued to receive messages and requests from Becki Falwell.




                                                    When Falwell first contacted the then-student over social media, she
                                                    posed as a blonde North Carolina woman in her early 20s, he said. “She created
                                                    a fake account, with a fake picture and a fake name,” he told POLITICO.


                                                    At first, he didn’t know who it was. Then he realized something was amiss.


                                                    “She was saying stuff a 20 and 21-year-old wouldn’t say,” he said. “[It was] like
                                                    real Southern charm. Stuff that older people say. And I said [to myself], ‘Hold
                                                    up, not only is this an old person, it’s Becki.”

                                                    “So I said, ‘I think I have a feeling who this is. Why are you doing this right now
                                                    on this account?” the former student recalled. “I think she was embarrassed,
                                                    because I kinda remember her being defensive about it.”


                                                    From then on, Falwell messaged him from her personal Facebook account.


                                                    The former student provided POLITICO with screenshots of several of these
                                                    conversations. The dates of Facebook’s timestamps range from September
                                                    2008 to December 2008, which overlaps with the six-month period Trey was
                                                    in the band. (These messages, with identifying aspects redacted, are pictured
                                                    here.)



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                                                             of what an amazing lead singer that you are
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                                                              | just wanted you to know how proud | am
                                                              of what an amazing lead singer that you are
                                                              for the band. | love watching you before a
                                                              show. | can always tell that you are a little
                                                              nervous by how you tap your hands on your
                                                              pants. | can't imagine doing what you do. |
                                                              always turn down requests for radio or tv
                                                              interviews.

                                                              What you did at the battle of the bands was
                                                              truly genius, getting everyone to stand up
                                                              and come near the stage. It was so neat to
                                                              see people singing along to shady grove (
                                                              of course through the tears in my eyes...
                                                               that song always gets to me ). Several
                                                               people beside me told us how much they
                                                               liked that song. Afterwords | got several
                                                               messages from people telling me how well
                                                               you guys did and how much they liked your
                                                               music.




                                                    In this Facebook message from November 2008, Becki Falwell complimented a then-Liberty University
                                                    student (name redacted here) on the performance of his band. “| love watching you before a show,” she
                                                    wrote. "I can always tell that you are a little nervous by how you tap your hands on your pants. ... It was so
                                                    neat to see people singing along to shady grove (of course through the tears in my eyes... that song always
                                                    gets to me).” | Obtained by Brandon Ambrosino/POLITICO



                                                    “T love watching you before a show,” she wrote him on Nov. 7, 2008. “I can
                                                    always tell that you are a little nervous by how you tap your hands on your
                                                    pants.” He remembers feeling uncomfortable because of how closely she
                                                    seemed to be watching him.


                                                    Her praise of the then-student’s talents became effusive. “What you did at the
                                                    Battle of the Bands was truly genius, getting everyone to stand up and come
                                                    near the stage. It was so neat to see people singing along to shady grove (of
                                                    course through the tears in my eyes ... that song always gets to me.).”


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                                                    “Becki thought [he] wrote that song about her,” the bandmate said.


                                                    It wasn’t, the former student said. He recalled Falwell frequently asking him to
                                                    write a song for her. “I think she just wanted to believe” that “Shady Grove”
                                                    was about her, he said. “My dear, I love your mess and everything in
                                                    between,” the song lyrics read. “If we slow down long enough, I can show you
                                                    what I mean.”


                                                    Even as the then-student tried to stay away from Falwell, he said, she
                                                    continued making advances. “I was getting phone call after phone call after
                                                    phone call after phone call from her — I’m in class! — leaving me a message,
                                                    like, the corniest thing you could do, like [singing the James Blunt song]
                                                    ‘You're Beautiful,’ leaving it on my [voicemail],” he remembered. “I just said,
                                                    ‘This can’t happen anymore.”


                                                    But Falwell was persistent. “She got too brash with stuff,” he said. In one
                                                    instance, Becki approached the then-student in a public place on Liberty’s
                                                    campus to hand him concert tickets. “She was buying Kings of Leon tickets and
                                                    showing up and handing [them] to [me in front of] people!”

                                                    For the then-student, a line was crossed when Falwell befriended his mother,
                                                    who had driven to Lynchburg to see one of his band’s shows.

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Capture URL: https://www.politico.com/news/2020/08/27/becki-falwell-affair-liberty-university-student-band-jerry-402559
Capture timestamp (UTC): Thu, 09 Mar 2023 21:04:26 GMT                    LUADMINREC001055                                                                           Page 8 of 13
   POLITICOCase 6:23-cv-00011-RSB Document 33 Filed 08/30/23 Page 298 of 300 Pageid#: 2314Ff ¥&
                                                    For the then-student, a line was crossed when Falwell befriended his mother,
                                                    who had driven to Lynchburg to see one of his band’s shows.


                                                    “[Falwell said], ‘Oh, let’s get your mother’s number,” the former student said.
                                                    “My poor mother worships the ground Jerry Falwell Sr. walks on, just
                                                    considering what he did for American Evangelicals. So she was getting the
                                                    biggest kick out of Becki calling her. I had to tell [Falwell], ‘Hey, please do not
                                                    contact my family.”


                                                    In December 2008, months after he began trying to distance himself from her,
                                                    she started to get the point. In one Facebook message provided to POLITICO,
                                                    Falwell vents frustration that he is not responding to her messages quickly
                                                    enough. “I’ve got you an incredible ray lamontagne cd. Call me (since your text
                                                    is dead) and i'll get the cd to you,” she wrote in one. Six hours later, without
                                                    receiving a response, Falwell sent another message: “never mind. don’t call. I'll
                                                    give the cd to someone who will appreciate it.” Later that night, he replied
                                                    explaining that he’d been off Facebook because he had a “busy day.”

                                                        Feite - 1
                                                                    )    Becki Falwell




                                                                        hey mr. legend,
                                                                        it was great finally seeing you tonight after
                                                                        a month or forever. i've got you an
                                                                        incredible ray lamontagne cd. call me (
                                                                        since your text is dead) tomorrow and i'll
                                                                        get it to you. i'll be at convo if you want to
                                                                        come.... how do the new sunglasses look?
                                                                        can't wait to see them.
                                                                        ~bf




                                                                        never mind. don't call. i'll give the cd to
                                                                        someone else who will appreciate it.




                                                                                                           oh   man,   i haven't   been       on   allllll day   until
                                                                                                           just now.     busy busy day




                                                    In a Facebook private message sent at 12:39 A.M. on Dec. 3, 2008, Becki Falwell told a then-Liberty
                                                    University student she had a gift for him. “hey mr. legend, it was great finally seeing you tonight after a
                                                    month or forever. i've got an incredible ray lamontagne cd. call me (since your text is dead) tomorrow and
                                                    i'll get it to you.” When the student hadn't responded by 6:54 p.m. that day, she messaged him again: “never
                                                    mind. don't call. i'll give the cd to someone else who will appreciate it.” | Obtained by Brandon
                                                    Ambrosino/POLITICO



                                                    “Tt was nice knowing you,” Falwell wrote in another message. The then-student
                                                    replied, “What in the world are you talking about??”




                                                                         Becki Falwell



                                                                        it was nice knowing you.    sorry you had to
                                                                        eon




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                                                                        removed or the person who shared i...


                                                                                                                what   in the   world   are    you    talking    about??




                                                                        are you going to be here on saturday to go
                                                                        with us to the concert?




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                                                               are you going to be here on saturday to go
                                                               with us to the concert?




                                                               ~bf




                                                    “It was nice knowing you. sorry you had to leave,” Becki Falwell wrote in a Facebook direct message to a
                                                    then-Liberty student in Dec. 2008. “What in the world are you talking about??” he replied. | Obtained by
                                                    Brandon Ambrosino/POLITICO


                                                    One of the last messages Falwell sent reads simultaneously supportive and
                                                    apologetic.


                                                    “Tam so thrilled that you have found a girlfriend!!!! I knew it wouldn’t be long
                                                    before someone noticed all of the great qualities that you have. I just want you
                                                    to be happy and it hurts to realize that remaining friends with me must not
                                                    make you that way. Please just be kind enough to let me know whether or not
                                                    you have received my texts. I am sorry that 6 months of friendship has ended
                                                    this way. Maybe time will heal whatever wounds that I have caused and your
                                                    Christian heart will allow you to forgive me.
                                                    Always,
                                                    BF”

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                                            HYPERSONIC SPEED.



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                                                    But for the former student, those words, and what he described as the
                                                    “insurmountable guilt” they brought to mind, weighed heavily on his
                                                    conscience.


                                                    He contacted Becki Falwell again in June 2011, according to emails provided by
                                                    a person close to the situation, and referred to his disappointment over his
                                                    failure to finish his degree. He asked for her help in getting a job to offset his
                                                    student-loan debt as he returned to classes: “I don’t know ifi should do the call
                                                    center, or grounds...what do you think?? I am a hard worker and can learn and
                                                    adapt very quickly.”


                                                    She replied almost a week later, offering to help him and asking after his
                                                    mother. “Have you put in an application at Liberty? I don’t know what jobs are
                                                    available but I think they list them on the website somewhere.”


                                                    He said he returned to Liberty and finished his degree in 2012.


                                                    He said he and Falwell have not been in contact for eight years, before this
                                                    week.


                                                    While the former student said he considered coming forward with his story in
                                                    the past, he was worried about damaging the reputation of the school that Rev.
                                                    Jerry Falwell Sr. founded. “I respect Jerry Sr. and what he did for the school,
                                                    for the kids, and I believe the Lord had a mission on his life to do that,” he said.
                                                    Several times, he expressed his desire to maintain anonymity, saying that he
                                                    did not want to be treated like former White House intern Monica Lewinsky —
                                                    his name reduced to a salacious punchline.




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   POLITICOCase 6:23-cv-00011-RSB Document 33 Filed 08/30/23 Page 300 of 300 Pageid#: 2316Ff ¥&
                                                    Several times, he expressed his desire to maintain anonymity, saying that he
                                                    did not want to be treated like former White House intern Monica Lewinsky —
                                                    his name reduced to a salacious punchline.

                                                    In the end, he decided to come forward with his story because of what he now
                                                    sees as an abuse of power on the part of Becki Falwell. He believes now that
                                                    that day in the driveway when she asked if he had told his friends that “I think
                                                    you're hot,” she was testing him.


                                                    “Usually I think about a middle-aged man grooming someone,” the former
                                                    student said. “It’s funny how it happened with the whole, ‘Me Too’
                                                    [movement]. I’m on the other end of the spectrum [from] men harassing
                                                    women. I found [that] a lot of the traits that these guys had, [Falwell] had as
                                                    well.”


                                                    The former student also believes that Falwell trusted him to keep their secret
                                                    because “she knew that I cared about her school and the soul-winning aspect. I
                                                    did not want to corrupt that by any means,” the former student said. “I don’t
                                                    want that on my back, that I took down the school.”


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                                             INNOVATING AT
                                            HYPERSONIC SPEED.



                                      LOCKHEED   MARTIN            A



                                                    Over the past year, the former student has described in a variety of ways the
                                                    conflict that has gone on inside him in the wake of his sexual encounter with
                                                    Falwell. One is a comparison he makes between himself and a famous biblical
                                                    character.


                                                    “Afterwards, I just felt like Joseph for many years,” the former student said. “I
                                                    know you get the analogy — from that story of Joseph and his coat of many
                                                    colors, when that woman tried to seduce him.”


                                                    He was referring to a story from the Hebrew Bible, recounted in Genesis 39,
                                                    when Joseph found himself cornered by a woman who wanted to have sex with
                                                    him. The woman was married to Potiphar, the politically powerful captain of
                                                    Pharaoh’s guard. Potiphar’s wife aggressively tried to seduce Joseph, an
                                                    unwilling recipient of her advances, and stripped off his clothes. Before he
                                                    could be violated, Joseph fled the scene, establishing himself in Biblical
                                                    teaching as a symbol of integrity and honor.


                                                    The former student brought up the story of Joseph not to compare himself to a
                                                    Biblical hero, but to emphasize their differences.


                                                    “JT didn’t run. I stayed,” he said. “I felt that guilt.”


                                                    FILED     UNDER:            LIBERTY     UNIVERSITY,           JERRY       FALWELL




                                                       Huddle                                                                                                                      (4
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